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                  IN THE UNITED STATES DISTRICT COURT
                FOR THE SOUTHERN DISTRICT OF NEW YORK

 NEW YORK IMMIGRATION
 COALITION, MAKE THE ROAD NEW
 YORK, CASA, AMERICAN-ARAB ANTI-
 DISCRIMINATION COMMITTEE, ADC    Civil Action No.
 RESEARCH INSTITUTE, FIEL HOUSTON
 INC.

 Plaintiffs,

   v.

 DONALD J. TRUMP, in his official
 capacity as President of the United
 States,

 UNITED STATES DEPARTMENT OF
 COMMERCE;

 WILBUR L. ROSS, JR., in his official
 capacity as Secretary of Commerce,

 BUREAU OF THE CENSUS, an agency
 within the United States Department of
 Commerce; and

 STEVEN DILLINGHAM, in his official
 capacity as Director of the U.S. Census
 Bureau,

 Defendants.

                                    COMPLAINT

        1. This action challenges President Trump’s lawless attempt to exclude

undocumented immigrants from the “persons” who must be counted in the Census for

purposes of apportioning congressional seats to states. This xenophobic effort to deny

the basic humanity of undocumented immigrants violates Article I’s mandate to count all

“persons” in the Census, and the Fourteenth Amendment’s requirement that
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“Representatives shall be apportioned among the several States according to their

respective numbers, counting the whole number of persons in each State . . . .” (emphasis

added). These words leave no room for doubt: they expressly mandate counting “the

whole number of persons” living in the United States for purposes of congressional

apportionment. As the Supreme Court held just four years ago, “the Fourteenth

Amendment calls for the apportionment of congressional districts based on total

population,” including all non-citizens living in the United States, regardless of legal

status. Evenwel v. Abbott, 136 S. Ct. 1120, 1129 (2016).

       2. Despite this exceedingly clear constitutional command and binding Supreme

Court precedent, on July 21, 2020, Defendant Trump issued a Presidential Memorandum

addressed to Defendant Commerce Secretary Wilbur Ross titled, “Excluding Illegal

Aliens From the Apportionment Base Following the 2020 Census” (the “Memorandum”).

The Memorandum purports to declare—for the first time in our nation’s history—that it

is “the policy of the United States to exclude from the apportionment base aliens who are

not in a lawful immigration status under the Immigration and Nationality Act, as

amended (8 U.S.C. 1101 et seq.).” In other words, the Memorandum directs Secretary

Ross: do not count undocumented immigrants at all for purposes of congressional

apportionment.1


1
  The Memorandum appears to potentially exclude both those with no form of status
whatsoever as well as those currently authorized to remain and work in the U.S., such as
holders of Deferred Action for Childhood Arrivals, who are nonetheless not “in lawful
status under the Immigration and Nationality Act.” See Regents of the Univ. of
California v. U.S. Dep’t of Homeland Sec., 908 F.3d 476, 487 (9th Cir. 2018) (“recipients
of deferred action enjoy no formal immigration status”) (quotations omitted), rev’d in
part, vacated in part sub nom Dep’t of Homeland Sec. v. Regents of the Univ. of
California, 140 S. Ct. 1891 (2020); Batalla Vidal v. Nielsen, 279 F. Supp. 3d 401, 412


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          3. Rarely does any government actor, much less the President of the United

States, so openly and obviously violate the Constitution. The Fourteenth Amendment

mandates “counting the whole number of persons” for congressional apportionment. As

the Supreme Court reaffirmed nearly four decades ago, an undocumented individual

living in the United States “is surely ‘a person’ in any ordinary sense of that term,”

“[w]hatever his status under the immigration laws.” Plyler v. Doe, 457 U.S. 202, 210

(1982). The President cannot change the fact that undocumented individuals are human

beings.

          4. The new “policy” also breaks an uninterrupted line of history: every

Decennial Census in our nation’s history has included every person who lives in the

United States, regardless of citizenship or immigration status, for purposes of

apportioning congressional representation. Defendant Trump’s new policy set forth in

the Memorandum therefore not only violates the plain and unequivocal text of Section 2

of the Fourteenth Amendment and related Supreme Court precedent, it also departs from

hundreds of years of consistent Census practice.

          5.   In addition to contravening the plain text of the Constitution, Supreme Court

precedent, and an unbroken line of historical practice, the policy conflicts with the

Department of Justice’s own longstanding position—asserted repeatedly over decades in

litigation in courts around this country, including to this Court in 2018—that

undocumented immigrants are “persons” who must be counted in the Decennial Census



(E.D.N.Y. 2018) (“Deferred action does not . . . confer lawful immigration status”),
vacated and remanded sub nom. Dep’t of Homeland Sec. v. Regents of the Univ. of
California, 140 S. Ct. 1891 (2020). For the sake of consistency, Plaintiffs refer to all
those excluded here as “undocumented.”

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and apportionment calculations. The Administration’s own lawyers have made clear that

the policy is unconstitutional.

       6. The new policy is a discriminatory attack on immigrants and immigrant

communities, and particularly immigrant communities of color. It is intended to erase

these individuals and communities, and to send the message that they do not count.

Indeed, whereas the original Apportionment Clause in Article I, Section 2 infamously

discounted enslaved Black Americans as three-fifths of a person for purposes of

congressional apportionment, the Memorandum raises this numerical dehumanization to

a new level: not three-fifths, but zero.

       7. In practical terms, the policy will result in states such as California, Texas,

and New York receiving fewer congressional districts and Electoral College votes,

diluting the political power of the residents of these states. The policy will also deplete

federal resources from states and localities with substantial immigrant populations. The

policy is rank discrimination on the basis of national origin, race, and ethnicity in

violation of the Equal Protection and Due Process guarantees of the Fifth Amendment.

       8. The effects of the new policy will cascade beyond the exclusion of

undocumented immigrants from the Census count. It is no coincidence that the

Memorandum was unveiled shortly before the Census Bureau was scheduled to

commence non-response follow up (“NRFU”) field operations to identify persons who

have not yet responded to the Census. The new policy of excluding undocumented

immigrants from the Census conveys a xenophobic message aimed at suppressing Census

participation from households containing immigrants and noncitizens. Unless enjoined,

the policy undoubtedly will undermine the effectiveness of the Census Bureau’s


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operations and deter members of immigrant communities—including undocumented

immigrants, noncitizen immigrants with legal status, and United States citizens—from

participating in the Census.

       9. The new policy also violates a panoply of other constitutional and statutory

prohibitions, including constitutional separation of powers, the Census Act, and the

Administrative Procedure Act.

       10. This is not Defendant Trump’s first attempt to weaponize the Census to attack

immigrant communities. Last year, the Supreme Court affirmed that the administration’s

effort to add a citizenship question to the 2020 Decennial Census would reduce Census

responses among non-citizen households, and held that Defendant Ross’s publicly-stated

rationale—purportedly to help enforce the Voting Rights Act—was “contrived.” Dep’t of

Commerce v. New York, 139 S. Ct. 2551, 2565-66, 2575 (2019).

       11. In issuing the Memorandum, Defendant Trump has now confessed the real

reason behind that failed effort: to delete undocumented immigrants from the decennial

enumeration altogether, and to exclude them categorically from the very concept of

personhood in the Constitution. Among its many cynical motivations, the President’s

new policy is an obvious attempt to evade the consequences of the Supreme Court’s

decision and the permanent injunction issued by the district court in the citizenship

question litigation. See Dep’t of Commerce, 139 S. Ct. 2551; Order, New York v. Dep’t

of Commerce, No. 18-CV-2921, ECF No. 634 (S.D.N.Y. July 16, 2019).

       12. Plaintiffs therefore request declaratory, injunctive, and/or mandamus relief to

prohibit Defendants from excluding undocumented immigrants from the population count

used to apportion the House of Representatives.


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                            JURISDICTION AND VENUE

       13. This Court has jurisdiction over this action pursuant to 28 U.S.C. § 1331, 28

U.S.C. § 1346(a), and 28 U.S.C. § 1361.

       14. Venue is proper in this judicial district under 28 U.S.C. § 1391(e).

       15. This Court has the authority to issue declaratory and injunctive relief pursuant

to 28 U.S.C. § 2201 and 28 U.S.C. § 2202.

                                        PARTIES

       A. Plaintiffs

               1. The New York Immigration Coalition

       16. The New York Immigration Coalition (“NYIC”) is an umbrella policy and

advocacy organization for more than 200 groups in New York State, representing the

collective interests of New York’s diverse immigrant communities and organizations. It

has its principal place of business at 131 West 33rd St, New York, NY 10001.

       17. NYIC’s mission is to unite immigrants, members, and allies so that all New

Yorkers can thrive. It envisions a New York State that is stronger because all people are

welcome, treated fairly, and given the chance to pursue their dreams. NYIC pursues

solutions to advance the interests of New York’s diverse immigrant communities and

advocates for laws, policies, and programs that lead to justice and opportunity for all

immigrant groups. It seeks to build the power of immigrants and the organizations that

serve them to ensure their sustainability, improve people’s lives, and strengthen New

York State.

       18. NYIC’s 200-plus members are dues-paying, 501(c)(3), nonprofit

organizations that are committed to advancing work on immigrant justice, empowerment,



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and integration. NYIC’s members are located throughout New York State and beyond.

These member groups include grassroots community groups, social services providers,

large-scale labor and academic institutions, and organizations working in economic,

social, and racial justice. A number of NYIC’s member organizations receive funding

from a variety of local, state, and federal government sources to carry out social service,

health, and education programs. Many of these organizations receive governmental

funding that is directly tied to the Decennial Census.

       19. New York is likely to lose at least one House seat during the post-2020

Decennial Census apportionment process as a result of the exclusion of undocumented

immigrants from the apportionment base. NYIC member organizations will lose political

power because of New York’s loss of at least one seat in the House of Representatives.

       20. The exclusion of undocumented immigrants from the Census base count will

very likely reduce the amount of federal funds that are distributed to the states and

localities where Latinos, Asian-Americans, Arab-Americans, and other immigrant

communities of color constitute significant portions of the population. This will injure a

number of NYIC’s member organizations that receive funding to carry out social service,

health, and education programs in these areas.

       21. As an organization, NYIC has an ongoing commitment to promoting

engagement in the Decennial Census among individuals served by its member

organizations. For the 2020 Decennial Census, NYIC has and will continue to invest

resources in Get Out the Count efforts through robust advocacy, outreach, and mass

educational forums.




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       22. The Census is ongoing, with the Census Bureau’s NRFU just getting started.2

NYIC plans to continue its Get Out the Count efforts during this NRFU. In its extensive

Decennial Census outreach, NYIC will now face a much more difficult environment due

to the perception among New York undocumented immigrants that they no longer need

to complete the Census now that undocumented immigrants are being excluded from the

apportionment, as well as immigrant communities’ heightened fear of interacting with

government workers that this new policy will cause. This fear extends not only to

undocumented immigrants, but also to family and household members of undocumented

immigrants who will be concerned that participating might endanger their loved ones.

       23. Because of the heightened fear and suspicion created by the decision to

exclude undocumented immigrants from the apportionment count, as well as confusion

among undocumented communities about whether they need to or should fill out the

Census in light of the Memorandum, NYIC will be forced to expend additional resources

on their outreach efforts to try to reduce the negative impact of the Memorandum on the

response rate in the immigrant communities they serve, particularly to undocumented

immigrant communities. Staff time and other resources devoted to NYIC’s Get Out the

Count efforts will be diverted to communications to combat fear and disinformation

resulting from the Memorandum. Moreover, NYIC has already, and will continue to,

divert resources from its other organizational priorities, including its work on health care




2
 U.S. Census Bureau, 2020 Census: Nonresponse Followup,
https://www.census.gov/newsroom/press-kits/2020/nonresponse-followup.html (June 19,
2020).

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and language access issues, to address these concerns about decreased Census

participation.

                 2. Make the Road New York

       24. Plaintiff Make the Road New York (“Make the Road New York”) is a

nonprofit membership organization with offices and service centers in Brooklyn, Queens,

Staten Island, Suffolk County, and White Plains.

       25. Make the Road New York’s mission is to build the power of immigrant and

working-class communities to achieve dignity and justice. To achieve this mission, they

engage in four core strategies: Legal and Survival Services, Transformative Education,

Community Organizing and Policy Innovation.

       26. Make the Road New York has more than 22,000 members who reside in New

York City, Long Island and Westchester County. These members lead multiple

organizing committees across numerous issues and program areas of concern to the

organization. Members take on leadership roles in the campaigns, determine priorities,

and elect the representatives who comprise most of the Board of Directors.

       27. The apportionment resulting from the exclusion of undocumented immigrants

from the apportionment base will likely deprive New York of at least one seat in the

House of Representatives, diminishing the political and voting power and influence, and

thus injuring, Make the Road members who live in New York.

       28. The exclusion of undocumented immigrants from the Census base count will

very likely reduce the amount of federal funds that are distributed to states and localities

where Latinos, Asian-Americans, Arab-Americans, and other immigrant communities of

color constitute significant portions of the population.


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        29. Make the Road New York members include individuals who do not have

lawful immigration status and as a result of the Memorandum will not be counted for

apportionment of Congressional seats. Make the Road New York members also reside in

states and localities where immigrant communities of color constitute significant portions

of the population, including New York City and suburban areas outside of New York

City. Its members in these jurisdictions rely on a number of government services whose

funding is allocated based on population and demographics determined by the Decennial

Census. This includes parents with children enrolled in Title I schools, and drivers who

use the roads on a daily basis and thus depend on federal highway funds to perform their

jobs.

        30. Make the Road New York members will be deprived of funding to which they

would be entitled by a more complete Census count.

        31. One of the many Make the Road members who will suffer injury due to the

exclusion of undocumented immigrants from the apportionment base is Perla Liberato.

Ms. Liberato is a resident of Queens County, NY, where she works as a Youth Organizer.

Because Ms. Liberato resides in New York State, she will lose political power because of

her state’s loss of representation in Congress.

        32. Another Make the Road member who will suffer injury due to the exclusion

of undocumented immigrants from the apportionment base is Yatziri Tovar. Ms. Tovar is

a resident of Bronx County, NY, and works as a media specialist. Because Ms. Tovar

resides in New York State, she will lose political power because of her state’s loss of

representation in Congress.




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       33. Make the Road New York has an ongoing commitment to promoting

engagement in the Decennial Census among its members and constituents. For the 2020

Decennial Census, Make the Road New York is engaged in outreach and education work

and receiving outside funding to help support this work. This work includes, among

other things, general education programs, workshops for members, and person-to-person

outreach. Make the Road New York’s Census outreach efforts have already contacted

over 100,000 people and assisted over 7,500 people with completing the Census

questionnaire.

       34. Make the Road New York will now face a much more difficult environment

due to its constituents’ heightened fear of interacting with government workers, which

will be increased by anti-immigrant actions such as the decision to exclude

undocumented immigrants from the apportionment base. This fear extends not only to

undocumented immigrants, but also to family and household members of undocumented

immigrants, who will be concerned that participating in the Decennial Census might

endanger their loved ones.

       35. Because of the heightened fear and suspicion created by the decision to

exclude undocumented immigrants from the apportionment base, as well as confusion

among undocumented communities about whether they need to or should fill out the

Census in light of the Memorandum, Make the Road New York will be forced to expend

more resources on their Decennial Census outreach efforts to reduce the effect of this

policy change on the response rate in the immigrant communities of color it serves.

       36. Because of the need to increase the time and money spent on Decennial

Census outreach due to the fear and confusion generated by the Administration’s decision


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to exclude undocumented immigrants from the apportionment base, Make the Road New

York will need to divert resources from other areas critical to its mission including civic

engagement and providing legal services.

               3. CASA

       37. Plaintiff CASA is a nonprofit membership organization headquartered in

Langley Park, Maryland. It has offices in Maryland, Virginia and Pennsylvania. CASA

is the largest membership-based immigrants’ rights organization in the mid-Atlantic

region, with more than 90,000 members.

       38. CASA’s mission is to create a more just society by increasing the power of

and improving the quality of life in low-income immigrant communities. To advance this

mission, CASA offers social, health, job training, employment, and legal services to

immigrant communities. CASA serves nearly 20,000 people a year through its offices

and provides support to additional clients over the phone and through email.

       39. CASA as an organization receives governmental funding that is directly tied

to the Decennial Census. Among other things, CASA receives Community Development

Block Grant (CDBG) funds that are allocated based on population and demographics

determined by the Decennial Census, including poverty levels. The exclusion of

undocumented immigrants in the Census base count will very likely result in a lower

percentage of CDBG funds allocated to the areas that CASA serves, and therefore CASA

will receive fewer such funds.

       40. CASA has an ongoing commitment to promote participation in the Decennial

Census among its members and constituents. For the 2020 Decennial Census, CASA is

participating in ongoing outreach and education work.


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       41. CASA plans to continue its Get Out the Count efforts during the NRFU. But

CASA’s efforts will be undermined by the decision to exclude undocumented immigrants

from the congressional apportionment because this will decrease participation among

undocumented immigrants who will believe that they no longer need to complete the

Census, and it will heighten fear of interacting with government workers among

immigrant communities of color. This fear extends not only to undocumented

immigrants but also to family members of undocumented immigrants, who will be

concerned that participating in the Decennial Census might endanger their loved ones.

       42. Because of the difficulties created by the decision to exclude undocumented

immigrants from the Census count base, CASA will be forced to expend more resources

on its Decennial Census outreach efforts to reduce the effect of this change in policy on

the response rates in the immigrant communities of color it serves.

       43. Because of the need to increase the time and money spent on Decennial

Census outreach due to the decision to exclude undocumented immigrants from the

Census count base, CASA will need to divert resources from other areas critical to its

mission, including job training and health outreach.

               4. The American-Arab Anti-Discrimination Committee

       44. Plaintiff American-Arab Anti-Discrimination Committee (“ADC”) is a civil

rights organization committed to defending and promoting the rights and liberties of

Arab-Americans and other persons of Arab heritage. ADC is the largest American-Arab

grassroots civil rights organization in the United States.

       45. Founded in 1980 by former Senator James Abourezk, ADC’s objectives

include combating stereotypes and discrimination against and affecting the Arab-


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American community in the United States, serving as a public voice for the Arab-

American community in the United States on domestic and foreign policy issues, and

educating the American public in order to promote greater understanding of Arab history

and culture. ADC advocates, educates, and organizes to defend and promote human

rights and civil liberties of Arab-Americans and other persons of Arab heritage.

       46. ADC has several thousand dues-paying members nationwide, with members

in all 50 states including California, New York, and Texas. Its members are also active

through ADC’s 28 local chapters and organizing committees, located in 20 states and the

District of Columbia, including in Tucson and Phoenix, Arizona; Los Angeles and

Orange County, California; Miami and Orlando, Florida; New York, New York; and

Austin and Dallas, Texas.

       47. ADC has members in states with significant populations of undocumented

immigrants, such as Texas, New York, Florida, California, Arizona and Illinois. These

states—particularly Arizona, California, New York, and Texas—are likely to lose at least

one House seat (or not gain at least one House seat they would have gained) during the

post-2020 Decennial Census apportionment process, as a result of the exclusion of

undocumented immigrants from the apportionment base. Many but not all of ADC’s

members in these states are U.S. citizens. The loss of political representation and

political power will injure ADC’s members in these states.

       48. The exclusion of undocumented immigrants in the Census base count will

reduce the amount of federal funds that are distributed to the states and localities where

Latinos, Asian Americans, Arab Americans, and other immigrant communities of color

constitute significant portions of the population. This will injure ADC members who


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reside in these areas, such as San Antonio and Houston, Texas and Miami-Dade,

Broward, and Orange Counties, Florida, Kings County, New York, and Prince George’s

County, Maryland. For example, ADC has members in these jurisdictions with children

enrolled in Title I schools and members who use the roads on a regular basis and thus

depend in part on federal highway funds for their upkeep.

       49. As an organization, ADC is committed to promoting participation in the

Decennial Census among its members and constituents. For the 2020 Decennial Census,

ADC has undertaken engagement work within the Arab-American community. For

example, ADC is conducting training for Census enumerators, running advertisements

encouraging participation, and holding a strategy symposium, among other activities.

ADC plans to continue its Get Out the Count work through the Non-Response Follow-Up

time period.

       50. ADC faces a difficult environment due to increased fear of interacting with

government workers among the Arab-American community, a fear that will be

heightened now because of the decision to exclude undocumented immigrants from the

apportionment. This fear extends not only to undocumented immigrants, but also to

family and household members of undocumented immigrants, who fear that participating

in the Decennial Census might endanger their loved ones.

       51. Because of the heightened fear and suspicion created by the decision to

exclude undocumented immigrants from the apportionment base, ADC will be forced to

invest more resources in its Decennial Census outreach efforts to reduce the effect of this

policy change on the response rates in the communities it serves.




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       52. Because of the need to increase the time and money spent on Decennial

Census outreach caused by the decision to exclude undocumented immigrants from the

apportionment base, ADC will need to divert resources from other areas critical to its

mission, including organizing, issue advocacy efforts, and educational initiatives.

               5. The ADC Research Institute

       53. Plaintiff ADC Research Institute (“ADCRI”) is a 501(c)(3) corporation

founded in 1982 by former Senator James Abourezk. ADCRI sponsors public programs

and initiatives in support of the constitutional and First Amendment rights of Arab-

Americans, as well as research studies, publications, seminars, and conferences that

document discrimination faced by Arab-Americans in the workplace, schools, media and

government agencies. These programs also promote a better understanding of Arab

cultural heritage by the public and policy makers.

       54. ADCRI is currently engaged in promoting Decennial Census participation

among its constituents. ADCRI plans to continue this work through NRFU time period.

       55. ADCRI is now facing a much more difficult environment due to increased

fear in the Arab-American community of interacting with government workers, due in

part to anti-immigrant actions such as the exclusion of undocumented immigrants from

the apportionment base. Because of this heightened fear and suspicion, ADCRI will be

forced to invest more resources in its outreach efforts to reduce the effect of this policy

change on the response rates in the communities it serves.

       56. Because of the need to increase the time and money spent on Decennial

Census outreach due to the decision to exclude undocumented immigrants from the

apportionment base, ADCRI will need to divert resources from other areas critical to its


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mission, including its engagement with public school teachers and other educational

issues

                6. FIEL Houton Inc.

         57. FIEL Houston Inc. (“FIEL”) is a membership-based not-for-profit

organization based in Houston, Texas. FIEL is an immigrant-led organization who

advocates for just laws for immigrant youth, their families, access to higher education for

all people regardless of immigration status and access to justice for the community.

         58. FIEL provides resources for undocumented students, understanding the path

to college is unsteady for many first and even second-generation Americans. FIEL’s

office is open to anyone seeking guidance in their process of obtaining a higher

education, including assistance with applying to college and applying for scholarships

and other financial aid. FIEL also provides a variety of immigration services for our

community—from providing legal counsel for immigrants to begin their pathway to

citizenship to handling most immigration cases.

         59. FIEL was born out of the need for civic engagement in support of

undocumented students seeking a higher education and conducts organizing for the

betterment of the communities they serve, including outreach and campaigns related to

the 2020 Decennial Census directed at immigrant communities in Texas.

         60. Today, FIEL has approximately 11,000 members in the greater Houston area

who help lead FIEL’s organizing. FIEL members reside in parts of Texas where

immigrant communities of color constitute significant portions of the population,

including Harris County.




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       61. Texas would lose at least one House seat (or not gain at least one House seat

they would have gained) during the post-2020 Decennial Census apportionment process,

as a result of the exclusion of undocumented immigrants from the apportionment base.

The loss of political representation and political power will therefore injure FIEL's many

members who live in Texas

       62. FIEL members in Houston rely on a number of government services whose

funding is allocated based on population and demographics determined by the decennial

Census. This includes parents with children enrolled in Title I schools, drivers who use

the roads on a daily basis and thus depend on federal highway funds to perform their

jobs, and many other programs and facilities that receive Census-guided funding. FIEL

members will be deprived of the benefits of census-guided funding to which they would

be entitled by a more complete census count.

       63. One of the many FIEL members who will suffer injury due to the exclusion of

undocumented immigrants from the apportionment base is Deyanira Palacios. Ms.

Palacios is a lawful permanent resident and a resident of Montgomery County, Texas.

Because Ms. Palacios resides in Texas, she will lose political power because of Texas’

loss of at least one seat in the House of Representatives.

       64. Another FIEL member who will suffer injury due to the exclusion of

undocumented immigrants from the apportionment base is Karen Ramos. Ms. Ramos is a

resident of Harris County, Texas, where she works as a realtor. Because Ms. Ramos

resides in Texas, she will lose political power because of Texas’ loss of at least one seat

in the House of Representatives. Ms. Ramos is entitled to remain and work lawfully in

the United States through the Deferred Action for Childhood Arrivals (“DACA”)


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Program. She is entitled to be counted in the ongoing 2020 Decennial Census along with

all other residents of Texas, regardless of their immigration status.

       65. The exclusion of undocumented immigrants from the census base count will

very likely reduce the amount of federal funds that are distributed to the states and

localities where Latinos, Asian-Americans, Arab-Americans, and other immigrant

communities of color constitute significant portions of the population, including Texas.

This will injure FIEL and its members who benefit from census-guiding funding to carry

out social service, health, and education programs in these areas.

       66. As an organization, FIEL has an ongoing commitment to promoting

engagement in the Decennial Census among individuals served by its member

organizations. For the 2020 Decennial Census, FIEL has and will continue to invest

resources in Get Out the Count efforts.

       67. The Census is ongoing, with the Census Bureau’s Non-Response Follow-Up

just getting started. FIEL plans to continue its Get Out the Count efforts during this Non-

Response Follow-Up. In its extensive Decennial Census outreach, FIEL will now face a

more difficult environment due to the perception among undocumented immigrants in

Texas that they no longer need to complete the Census now that undocumented

immigrants are being excluded from the apportionment, as well as immigrant

communities’ heightened fear of interacting with government workers that this new

policy will cause. This fear extends not only to undocumented immigrants, but also to

family and household members of undocumented immigrants who will be concerned that

participating might endanger their loved ones.




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        68. Because of the heightened fear and suspicion created by the decision to

exclude undocumented immigrants from the apportionment count, as well as confusion

among undocumented communities about whether they need to or should fill out the

Census in light of the Memorandum, FIEL will be forced to expend additional resources

on their outreach efforts to try to reduce the negative impact of the Memorandum on the

response rate in the immigrant communities they serve, particularly to undocumented

immigrant communities. Staff time and other resources devoted to FIEL’s Get Out the

Count efforts will diverted to communications to combat fear and disinformation

resulting from the Memorandum. Moreover, FIEL has already, and will continue to,

divert resources from its other organizational priorities, including its work on access to

education for students, to address these concerns about decreased census participation

within immigrant communities.

        69. Because of the need to increase the time and money spent on Decennial

Census outreach due to the fear and confusion generated by the Administration’s decision

to exclude undocumented immigrants from the apportionment base, FIEL will need to

divert resources from other areas critical to its mission such as other civic engagement

activities.

        B. Defendants

        70. Defendant Donald J. Trump is the President of the United States. In that

capacity, Defendant Trump issued a July 21, 2020 Memorandum on Excluding Illegal

Aliens From the Apportionment Base Following the 2020 Census, described infra. As

President, he has the statutory responsibility of transmitting to Congress “a statement

showing the whole number of persons in each State, excluding Indians not taxed, as


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ascertained under the seventeenth and each subsequent decennial census of the

population, and the number of Representatives to which each State would be entitled

under an apportionment of the then existing number of Representatives by the method

known as the method of equal proportions, no State to receive less than one Member.”

2 U.S.C. § 2a (emphasis added). He is sued in his official capacity.

       71. Defendant United States Department of Commerce is a cabinet agency within

the executive branch of the United States Government. The Commerce Department is

responsible for planning, designing, and implementing the 2020 Decennial Census. 13

U.S.C. § 4.

       72. Defendant Wilbur L. Ross, Jr. is the Secretary of Commerce. He oversees the

Bureau of the Census (“Census Bureau”) and is thus responsible for conducting the

Decennial Census of the population. 13 U.S.C. § 141(a). He has statutory responsibility

to “take a decennial census of the population,” 13 U.S.C. § 141(a), and for reporting to

the President by January 1, 2021, a “tabulation of total population by States . . . as

required for the apportionment of Representatives in Congress among the several States,”

13 U.S.C. § 141(b). He is sued in his official capacity.

       73. Defendant Census Bureau is an agency within, and under the jurisdiction of,

the Department of Commerce. 13 U.S.C. § 2. The Census Bureau is the agency

responsible for planning and administering the Decennial Census.

       74. Defendant Steven Dillingham is the Director of the Census Bureau and thus

has responsibility for administering a complete count of all persons residing in the United

States, including for the purpose of providing that figure to the Secretary of Commerce

for transmission to the President. He is sued in his official capacity.


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                                          FACTS

       A. Background on the Decennial Census

               1. The Constitutional Command to Include All People in the Census
                  for Purposes of Congressional Apportionment

       75. The Constitution requires a Decennial Census for the purpose of determining

the number of Representatives to which each State is entitled. Article I, Section 2, Clause

3 provides that “Representatives . . . shall be apportioned among the several States . . .

according to their respective Numbers” (the Apportionment Clause). U.S. Const. art. I,

§ 2, cl. 3. It also directs that “[t]he actual Enumeration shall be made within three Years

after the first Meeting of the Congress of the United States, and within every subsequent

Term of ten Years, in such Manner as they shall by Law direct” (the Census Clause). Id.

       76. Key here, Section 2 of the Fourteenth Amendment provides that

“Representatives shall be apportioned among the several States according to their

respective numbers, counting the whole number of persons in each State, excluding

Indians not taxed.” Id. amend. XIV, § 2 (emphasis added).

       77. “By its terms, therefore, the Constitution mandates that every ten years the

federal government endeavor to count every single person residing in the United States,

whether citizen or noncitizen, whether living here with legal status or without,” and

“[t]he population count derived from that effort is used . . . to apportion Representatives

among the states.” New York v. Dep’t of Commerce, 351 F. Supp. 3d 502, 514 (S.D.N.Y.

2019) (emphases added).

       78. Consistent with this express constitutional mandate, the federal government

has conducted a Census that includes all persons living in the United States, regardless of

citizenship or legal status, every ten years since 1790.

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       79. This was historically subject to only two qualifications, both contained in the

explicit text of the Constitution: “Indians not taxed,” and the Three-Fifths Clause for

persons who were enslaved. The first exception has not been relevant for some time; the

second, the Three-Fifths Clause, assumed that enslaved persons would be included in the

Census, but provided that they would not be counted as full persons for the purposes of

calculating population for congressional apportionment.

       80. The explicit nature of these two qualifications, neither of which applies in

modern times, reinforces that the Decennial Census and the resulting apportionment base

must include every person physically living in the United States.

       81. The Civil War and the abolition of slavery repudiated the Three-Fifths Clause,

which the Fourteenth Amendment then repealed. During debates over the Reconstruction

Amendments, Congress considered, and affirmatively rejected, proposals that would have

altered Congressional apportionment to be based on the population of voters, rather than

total population. Thaddeus Stevens introduced a constitutional amendment that would

have apportioned House seats “according to their respective legal voters.” Evenwel, 136

S. Ct. at 1128 (quoting Cong. Globe, 39th Cong., 1st Sess., 10 (1866)). Congress rejected

that proposal. Id.

       82. As ratified, Section 2 of the Fourteenth Amendment carried forward the basic

total population mandate of the Apportionment Clause, providing, as stated, that

“Representatives shall be apportioned among the several States according to their

respective numbers, counting the whole number of persons in each State, excluding

Indians not taxed.”




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       83. In introducing this final language on the Senate Floor, Senator Jacob Howard

explained the provision as follows:

       [The] basis of representation is numbers . . . that is, the whole population except
       untaxed Indians and persons excluded by the State laws for rebellion or other
       crime . . . . The committee adopted numbers as the most just and satisfactory
       basis, and this is the principle upon which the Constitution itself was originally
       framed, that the basis of representation should depend upon numbers; and such, I
       think, after all, is the safest and most secure principle upon which the Government
       can rest. Numbers, not voters; numbers, not property; this is the theory of the
       Constitution.

Evenwel, 136 S. at 1128 (quoting Cong. Globe, 39th Cong., 1st Sess., 2766-2767

(1866)).


       84. In Evenwel v. Abbott, the Supreme Court held that Section 2 of the Fourteenth

Amendment “retained total population as the congressional apportionment base.”

Evenwel, 136 S. Ct. at 1128. The proposition that non-citizens must be included in the

population base for apportioning the total number of U.S. House seats to each state was

central to the Court’s holding that the Fourteenth Amendment does not prohibit states

from including non-citizens in drawing legislative districts within a state. The Court

explained: “It cannot be that the Fourteenth Amendment calls for the apportionment of

congressional districts based on total population, but simultaneously prohibits States from

apportioning their own legislative districts on the same basis.” Id. at 1129. The

concurring Justices agreed that “House seats are apportioned based on total population.”

Id. at 1148 (Alito, J., concurring in the judgment); see also id. at 1138 (Thomas, J.,

concurring in the judgment) (“[F]eatures of the apportionment for the House of

Representatives reflected the idea that States should wield political power in approximate

proportion to their number of inhabitants.”). See also Wesberry v. Sanders, 376 U.S. 1,


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14 (1964) (noting that the “principle solemnly embodied in the Great Compromise” is

“equal representation in the House for equal numbers of people”).

       85. Lower courts have similarly recognized that the Constitution requires that all

people be included in the population totals used for Congressional apportionment,

regardless of citizenship status. As a three-judge panel of the District Court for the

District of Columbia explained:

       The language of the Constitution is not ambiguous. It requires the counting of the
       “whole number of persons” for apportionment purposes, and while illegal aliens
       were not a component of the population at the time the Constitution was adopted,
       they are clearly “persons.” By making express provision for Indians and slaves,
       the Framers demonstrated their awareness that without such provisions, the
       language chosen would be all- inclusive. . . We see little on which to base a
       conclusion that illegal aliens should now be excluded, simply because persons
       with their legal status were not an element of our population at the time our
       Constitution was written.

Fed’n for Am. Immigration Reform v. Klutznick, 486 F. Supp. 564, 576 (D.D.C. 1980);

see also, e.g., New York, 351 F. Supp. 3d at 514.


               2. The Government’s Repeated Acknowledgment of Its Constitutional
                  Obligation to Include All People in the Census for Purposes of
                  Congressional Apportionment

       86. The Justice Department has likewise not only conceded but forcefully argued

that it has a constitutional obligation to count every person residing in the United States

no matter their immigration status, and to use that data for apportionment purposes.

       87. Facing a legal challenge in the early 1980s to the inclusion of undocumented

immigrants in apportionment figures in Federation for American Immigration Reform v.

Klutznick, the Government argued that the plaintiffs there sought “a radical revision of

the constitutionally mandated system for allocation of Representatives to the States of the

Union and an equally radical revision of the historic mission of the decennial census.”

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Defs.’ Post-Arg. Memo. at 1, No. 79-3269 (D.D.C. Feb. 15, 1980). It explained that the

“Constitution expressly requires the enumeration of the ‘whole number of persons in each

State’ for purposes of apportionment of Representatives to the United States Congress

and none of plaintiffs’ legal theories puts in doubt that the plain meaning of this language

must be given effect,” and that the Census “has never . . . excluded from the

apportionment base any inhabitant counted in the decennial census.” Defs.’ Reply

Memo. & Opp’n to Pls.’ Mot. for Summ. J. at 1, No. 79-3269 (D.D.C. Jan. 30, 1980).

       88. The Government also rejected any policy rationale for overriding the

constitutional mandate to include all persons in the enumeration for purposes of

congressional apportionment, noting that the “constitutionally mandated requirement to

count states’ inhabitants for apportionment purposes is a matter separate from the need to

solve the problems of illegal immigration.” Id.

       89. Similarly, in a September 22, 1989 letter, Carol Crawford, the Assistant

Attorney General for Legislative Affairs, advised Senator Jeff Bingaman that the Justice

Department had “found no basis” for reversing its existing position that the Census

Clause and Section 2 of the Fourteenth Amendment “require that inhabitants of States

who are illegal aliens be included in the census count.”3

       90. More recently, in New York v. Department of Commerce, the Government

argued in its Motion to Dismiss that the “Constitution supplies a simple judicial standard

for determining the constitutionality of [Census Bureau] practices—the Secretary must

perform a person-by-person headcount, rather than an estimate of population.” Memo. of


3
 Letter from Assistant Attorney Gen. Carol T. Crawford to Honorable Jeff Bingaman
(Sept. 22, 1989), in 135 Cong. Rec. S22,521 (daily ed. Sept. 29, 1989).

                                             26
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Law in Support of Defs.’ Mot. to Dismiss at 25, No. 1:18-cv-02921, ECF No. 155

(S.D.N.Y. May 25, 2018). Similarly, it contended that “where, as here, there is no

allegation that the Secretary failed to establish procedures for counting every person, a

case ceases to implicate ‘actual Enumeration . . . .’” Reply Memo. of Law in Further

Support of Defs.’ Mot. to Dismiss at 7, No. 1:18-cv-02921, ECF No. 190 (S.D.N.Y. July

13, 2018).

       91. The Government embraced the requirement that every person living in the

United States must be included in the Census even more directly in its Post-Trial

Proposed Findings of Fact in New York v. Department of Commerce, writing that the

“Constitution requires the federal government to conduct a Decennial Census counting

the total number of ‘persons’—with no reference to citizenship status—residing in each

state.” Defs.’ Post-Trial Proposed Findings of Fact and Conclusions of Law Regarding

Pls.’ Claims at 1, No. 1:18-cv-02921, ECF No. 546 (S.D.N.Y. Nov. 21, 2018) (internal

citations omitted).

       92. Even more recently, in ongoing litigation in Alabama over the inclusion of

undocumented immigrants in the Census, the Government argued that “[t]he very

purpose of the census . . . is to count the number of people residing in each state.”

Memo. of Law in Support of Defs.’ Mot. to Dismiss at 1, Alabama v. Dep’t of

Commerce, No. 2:18-cv-00772, ECF No. 45-1 (N.D. Ala. Nov. 13, 2019).

               3.     The Statutory Requirements to Include All People in the Census for
                      Purposes of Congressional Apportionment

       93. Article I, Section 2 of the Constitution provides that the Census may be

conducted “in such manner as [Congress] shall direct by law.” Congress has codified this



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command in a statutory scheme primarily contained in Title 13 of the United States Code,

also known as the Census Act.

       94. Congress delegated to the Secretary of Commerce responsibility for

conducting the Census, providing that he “shall, in the year 1980 and every 10 years

thereafter, take a decennial census of population as of the first day of April of such year,

which date shall be known as the ‘decennial census date’ . . . .” 13 U.S.C. § 141(a).

       95. Congress has also created the Census Bureau within the Department of

Commerce and authorized the Secretary of Commerce to delegate his duties under the

Census Act to the Census Bureau. 13 U.S.C. §§ 2, 4.

       96. The Secretary must report to the President a “tabulation of total population by

States . . . as required for the apportionment of Representatives in Congress among the

several States” within nine months of the Census date. 13 U.S.C. § 141(b).

       97. The President then performs a “ministerial” calculation of the number of U.S.

House seats to which each state is entitled. Franklin v. Massachusetts, 505 U.S. 788, 799

(1992). The President is “require[d]” to use only “data from the decennial census” to

perform this calculation, id. at 797, and the calculation must use a specific formula with

“rigid specifications . . . provided by Congress itself, and to which there can be but one

mathematical answer.” Id. at 799 (quoting S. Rep. No. 2, 71st Cong., 1st Sess., at 4–5).

       98. The President must then transmit to Congress, “[o]n the first day, or within

one week thereafter, of the first regular session . . . a statement showing the whole

number of persons in each State . . . as ascertained under the . . . decennial census of the

population,” and “the number of Representatives to which each State would be entitled

under an apportionment of the then existing number of Representatives by the method


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known as the method of equal proportions.” 2 U.S.C. § 2a (emphases added). The

“method of equal proportions” is the specific formula prescribed by Congress that

calculates the number of House seats for each state based on the total population of each

state as enumerated in the Decennial Census.

       99. Though the primary purpose of the Census enumeration remains the

apportionment of Congressional seats (as well as, by extension, Presidential electors), the

population count from the Decennial Census is also used by the states for decennial

redistricting of state legislative districts; helps to determine the distribution of hundreds

of billions of dollars of federal funding; and informs the decisions of federal, state, and

local policymakers and private businesses.

               4. The Census Bureau’s Repeated Acknowledgments that All People
                  Must Be Included in the 2020 Census for Purposes of Congressional
                  Apportionment

       100.    After more than a decade of preparation, the 2020 Census is currently

being conducted, with “Census Day” having occurred on April 1. Beginning in January

in some places, and in March nationwide, Americans were asked to respond to the

Census questionnaire online, by phone, or by mail. And while there have been some

delays due to the COVID-19 pandemic, in-person NRFU is currently scheduled to take

place between August 11 and October 31.4

       101.    Throughout the entire process of preparing for and conducting the 2020

Census, the Census Bureau has consistently represented that it would adhere to the




4
 See Census Bureau, Overall Timeline, https://2020census.gov/en/important-
dates.html (last visited July 21, 2020).

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centuries-old practice of counting every person living in the United States—including

undocumented immigrants—for apportionment and other purposes.

       102.    In fact, the Census Bureau has formally adopted a rule—pursuant to a

notice-and-comment rulemaking process—that undocumented immigrants must be

counted where they live and included in apportionment numbers. On February 8, 2018,

the Census Bureau promulgated its “Residence Rule” for the 2020 Census, which lays out

this requirement. 83 Fed. Reg. 5525 (Feb. 8, 2018) (formally titled “Final 2020 Census

Residence Criteria and Residence Situations.”).

       103.    The Residence Rule explains that the “residence criteria” are “used to

determine where people are counted during each decennial census.” Id. at 5526. The

Residence Rule indicates that the criteria for determining residency set forth in the rule

must then be used “to apportion the seats in the U.S. House of Representatives among the

states” and that “[a]pportionment is based on the resident population, plus a count of

overseas federal employees, for each of the 50 states.” Id. at 5526 n.1.

       104.    The Residence Rule provides that “[c]itizens of foreign countries living in

the United States” must be “[c]ounted at the U.S. residence where they live and sleep

most of the time.” Id. at 5533. The Census Bureau elaborated that the “Census Bureau is

committed to counting every person in the 2020 Census,” including citizens of foreign

countries living in the United States. Id. at 5526. The Census Bureau considered a

comment which “expressed concern about the impact of including undocumented people




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in the population counts for redistricting because these people cannot vote.”5 In response,

the Census Bureau declined to make any changes to its residence criteria and indicated

that it “will retain the proposed residence situation guidance for foreign citizens in the

United States.” Id. at 5530.

       105.    As of July 21, 2020, a copy of these criteria was available unchanged on

the Census Bureau website, including the provision for foreign citizens:6




       106.    As of July 21, 2020, a webpage maintained by the Census Bureau

addressing “Frequently Asked Questions on Congressional Apportionment” noted that

resident population counts “include all people (citizens and non-citizens) who are living

in the United States at the time of the census,” and explicitly affirmed that undocumented

residents must be included in the population totals used for Congressional

apportionment:7



5
 Final 2020 Census Residence Criteria and Residence Situations, Federal Register, Vol.
83, No. 27, Thursday, February 8, 2018, https://www.govinfo.gov/content/pkg/FR-2018-
02-08/pdf/2018-02370.pdf (last visited July 21, 2020).
6
 Census Bureau, Residence Criteria and Residence Situations for the 2020 Census of the
United States, https://www.census.gov/content/dam/Census/programs-
surveys/decennial/2020-census/2020-Census-Residence-Criteria.pdf (last visited July 21,
2020).
7
 Census Bureau, Frequently Asked Questions on Congressional Apportionment,
https://www.census.gov/topics/public-sector/congressional-
apportionment/about/faqs.html#Q6 (last visited July 21, 2020).

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       107.      Likewise, as of July 21, the “Census in the Constitution” page on the

Census Bureau website noted that “[t]he plan [of the Founders] was to count every person

living in the United States of America, and to use that count to determine representation

in Congress:”8



8
 Census Bureau, Census in the Constitution, https://www.census.gov/programs-
surveys/decennial-census/about/census-constitution.html (last visited July 21, 2020).

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       108.    Similarly, the Census Bureau’s 2020 guide for Complete Count

Committees, which are volunteer organizations designed to boost Census participation,

advised that the Census “mandates a headcount every 10 years of everyone residing in the

50 states,” including “citizens, and noncitizens:”9




9
 Census Bureau, 2020 Census Complete Count Committee Guide at 1 (2018),
https://www.census.gov/content/dam/Census/newsroom/press-kits/2018/ccc-guide-d-
1280.pdf (last visited July 21, 2020).

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        109.     Similarly, on its webpage “Setting the Record Straight,” as of July 21,

2020, the Census Bureau assured readers that “[e]veryone counts” and that “everyone

living” in the United States, including non-citizens, is counted in the 2020 Census:10




        110.     As of July 21, the Bureau’s “Who to Count” page repeated the same

information:11




10
  Census Bureau, Setting the Record Straight, https://2020census.gov/en/news-
events/rumors.html (last visited July 21, 2020).
11
  Census Bureau, Who to Count, https://2020census.gov/en/who-to-count.html (last
visited July 21, 2020).

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        111.   And, as of July 21, the “Who Is Required to Respond” page on the Census

Bureau’s website for the 2020 Census also specified that “[e]veryone living in the United

States . . . is required by law to be counted in the 2020 Census:”12




        112.   The 2020 Census is in process, but at this point remains far from

enumerating the entire population. As of July 23, 2020, 62.3% of households in the

United States have responded to the 2020 Census, according to the Census Bureau’s

estimates.13 Included within this figure are likely significant numbers of undocumented

immigrants who acted in good faith according to the Bureau’s own instructions and



12
  Census Bureau, Who Is Required to Respond, https://2020census.gov/en/am-i-
required.html (last visited July 21, 2020).
13
  Census Bureau, Response Rates, https://2020census.gov/en/response-rates.html (last
visited July 21, 2020).

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responded to the census, with the understanding that they would be counted just like

every other person living in the United States.


       B. Defendants’ First Attempt to Exclude Noncitizens from the Census: The
       Citizenship Question Litigation

       113.    This is not the first effort by Defendants to exclude noncitizens from the

2020 Census. Most notably, following the Secretary’s March 2018 announcement that a

citizenship question would be included on the Census, numerous plaintiffs, including

Plaintiffs here, filed suit to block the question. After an eight-day bench trial, this Court

issued a 277-page opinion and order including its findings of fact and conclusions of

law. See New York, 351 F. Supp. 3d 502. The Court concluded that Plaintiffs had

standing to sue because the inclusion of a citizenship question on the Census would deter

participation in the Census by households with a noncitizen, leading to an undercount of

such households, and that Defendants violated the Administrative Procedure Act in

various ways, including by offering a “pretextual” rationale, id. at 516—Voting Rights

Act (“VRA”) enforcement—for the Secretary’s decision. Id. at 516.

       114.    The Supreme Court affirmed, finding that the Secretary’s VRA rationale

was “incongruent with what the record reveal[ed] about the agency’s priorities

and decision-making process” and “contrived.” Dep’t of Commerce, 139 S. Ct. at 2575-

76. The Secretary’s March 2018 decision thus failed the basic requirement that agencies

“pursue their goals reasonably,” and was unlawful. Id. at 2576.

       115.    The Secretary’s “contrived” pretext was pierced during discovery in a

separate state court lawsuit, Common Cause v. Lewis, No. 18-CVS-14001 (N.C. Super.

Ct.), where information that had been wrongfully concealed in discovery before this


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Court revealed the true genesis of the decision to add a citizenship question to the 2020

Census. The evidence was discovered on the hard drive of Dr. Thomas Hofeller, a North

Carolina-based longtime Republican strategist and redistricting expert who died in

August 2018.14

        116.     In late August 2015, Hofeller was commissioned by the Washington Free

Beacon, a conservative website, to study the “practicality” and “political and

demographic effects” of using citizen voting age population (“CVAP”) instead of total

population (“TPOP”) to achieve equal population in redistricting.15 Hofeller advised that

if a citizenship question were added to the 2020 Decennial Census so as to enable the

exclusion of non-citizens from the population base in redistricting, the results “would be

advantageous to Republicans and Non-Hispanic Whites.”16

        117.     Documents also revealed that Hofeller in 2015 communicated directly

with Census Bureau official Christa Jones, using her private email address, and that Jones

notified Hofeller of the Federal Register’s notice for comment regarding the Census

Bureau’s Content Test for that year, suggesting that there was “an opportunity to mention

citizenship.”17 Hofeller subsequently helped ghostwrite a draft DOJ letter to Commerce



14
  Michael Wines, Thomas Hofeller, Republican Master of Political Maps, Dies at 75,
N.Y. Times (Apr. 21, 2018) https://www.nytimes.com/2018/08/21/obituaries/thomas-
hofeller-republican-master-of-political-maps-dies-at-75.html.
15
  Pls.’ Mot. for Order to Show Cause Ex. C at 1-2, New York v. Dep’t of Commerce, No.
18-CV-2921, ECF No. 595-1 (S.D.N.Y. May 31, 2019).
16
  Pls.’ Mot. for Order to Show Cause Ex. D at 9, New York v. Dep’t of Commerce, No.
18-CV-2921, ECF No. 595-1 (S.D.N.Y. May 31, 2019).
17
   Tara Bahrampour, GOP strategist and census official discussed citizenship question,
new documents filed by lawyers suggest, Wash. Post (June 16, 2019),
https://www.washingtonpost.com/dc-md-va/2019/06/15/new-documents-suggest-direct-


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requesting a citizenship question that subsequently came into the possession of his “good

friend[]” Mark Neuman, Defendant Secretary Ross’s “trusted” and “expert adviser” on

census issues, who “act[ed] analogously to an agency employee.”18 Following a call

between then-North Carolina Congressman (and now Defendant Trump’s Chief of Staff)

Mark Meadows and Defendant Secretary Ross, senior aides of Secretary Ross facilitated

a meeting at which Neuman provided Hofeller’s draft to John Gore, the Acting Assistant

Attorney General for Civil Rights, who ultimately “requested” that the Bureau include a

citizenship question on the census.19 Meanwhile, Jones eventually came to serve as Chief

of Staff to the Acting Director of the Census Bureau at the time of Defendant Secretary

Ross’s March 2018 Decision Memorandum ordering the inclusion of a citizenship

question on the census. Jones later testified that Hofeller favored adding a citizenship

question to the census to aid “the Republican redistricting effort” and that Hofeller’s

business partner, Dale Oldham, advocated for a citizenship question for redistricting and

apportionment purposes “more times than I can remember.”20




connection-between-republican-redistricting-strategist-census-bureau-official-over-
citizenship-question/.
18
  NYIC Pls.' Mot for Sanctions, 1:18-cv-2921 (JMF), ECF No. 635-1 at 124-136; Def’s
Opp. to Ltr. Mot. to Compel, N.Y. Immigration Coalition v. U.S. Dep’t of Commerce,
1:18-cv-2921-JMF, ECF No. 451 at 3 (S.D.N.Y. Oct. 30, 2018).
19
 Pls.’ Joint Proposed Post-Trial Findings of Fact, N.Y. Immigration Coalition v. U.S.
Dep’t of Commerce, 1:18-cv-2921-JMF, ECF No. 545 at 52-53 ¶¶ 364-69 (S.D.N.Y.
Nov. 21, 2018) (citing trial exhibits).
20
   Memorandum from Acting Chairwoman Carolyn B. Maloney to Members of the
United States House Committee on Oversight, Update on Investigation of Census
Citizenship Question Since House Held Attorney General Barr and Commerce Secretary
Ross in Contempt of Congress, 12 (Nov. 12, 2019)
https://oversight.house.gov/sites/democrats.oversight.house.gov/files/2019-11-
12.Memo%20to%20COR%20Members%20re.%20Census.pdf.

                                             38
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        118.    Subsequent statements by Defendant Trump and other Administration

officials and advisors confirmed that a discriminatory intent to exclude noncitizens—and

particularly, undocumented immigrants—from redistricting was the actual purpose of the

effort to add a citizenship question to the Census.

        119.    For example, on July 1, 2020, Defendant Trump stated that a citizenship

question was “very important to find out if someone is a citizen as opposed to an illegal,”

and that “Democrats want to treat the illegals, with healthcare and other things, better

than they treat the citizens of this country.”21

        120.    Defendant Trump himself has repeatedly admitted that his administration

sought to add the citizenship question to harm immigrant communities by excluding them

from the decennial enumeration and thus from redistricting and apportionment. About a

week after the Supreme Court’s holding in Department of Commerce, Defendant Trump,

asked why he was still trying to get a citizenship question on the census, said: “Number

one, you need it for Congress. You need it for Congress, for districting. You need it for

appropriations. Where are the funds going? How many people are there?”22

        121.    Days later, at a press conference in the White House Rose Garden,

Defendant Trump similarly stated that the citizenship information his administration

sought is “relevant to administering our elections. Some states may want to draw state




21
   Remarks by President Trump at Signing of H.R. 3401, White House (July 1, 2019)
https://www.whitehouse.gov/briefings-statements/remarks-president-trump-signing-h-r-
3401/.
22
  Remarks by President Trump Before Marine One Departure, White House (July 5,
2019), https://www.whitehouse.gov/briefings-statements/remarks-president-trump-
marine-one-departure-51/).

                                               39
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and local legislative districts based upon the voter-eligible population.”23 In particular,

Defendant Trump urged states to apportion and redistrict on the basis of citizen voting

age population instead of total population, as Hofeller had advised, because he suggested

that the move might be immune from judicial scrutiny: “Indeed, the same day the

Supreme Court handed down the census decision, it also said it would not review certain

types of districting decisions, which could encourage states to make such decisions based

on voter eligibility.”24

           122.   At the same press conference, Defendant Trump stated: “As shocking as it

may be, far-left Democrats in our country are determined to conceal the number of illegal

aliens in our midst. They probably know the number is far greater, much higher than

anyone would have believed before. Maybe that’s why they fight so hard. This is part of

a broader left-wing effort to erode the rights of the American citizen.”25

           123.   Several of Defendant Trump’s associates and agents also stated—in the

wake of the Supreme Court’s ruling in Department of Commerce—that excluding

noncitizens from the census is necessary either to curtail immigration or limit the political

power of immigrant communities of color.

           124.   Matt Schlapp, Chairman of the American Conservative Union and

husband to Mercedes Schlapp, Defendant Trump’s Director of Strategic

Communications, tweeted on June 27, 2019 that he wanted to “impeach[] the Chief



23
   Remarks by President Trump on Citizenship and the Census, White House (July 11,
2019) https://www.whitehouse.gov/briefings-statements/remarks-president-trump-
citizenship-census/.
24
     Id.
25
     Id.

                                             40
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Justice [Roberts]” for “angling for vast numbers of illegal residents to help Dems hold

Congress.”26

        125.   Former Vice Chair of the President’s Commission on Electoral Integrity

and anti-immigrant zealot Kris Kobach stated on July 8, 2019 that he “advised the

President on putting the citizenship question back on the U.S. Census,” adding that he

wanted to “make it a requirement in federal law that we must ask the question in every

census going forward.”27 A supplement to the Administrative Record in the citizenship

question litigation revealed that Secretary Ross (at the behest of former White House

senior advisor Steve Bannon) had discussed adding a citizenship question with Kobach,

who advised that the question’s absence on the census “leads to the problem that aliens

… are still counted for congressional apportionment purposes.” In separate public

statements, Kobach reiterated that the purpose of adding a citizenship question to the

census was “so Congress [can] consider excluding illegal aliens from the apportionment

process,”28 because “citizens in a district with lots of illegal aliens have more voting

power than citizens in districts with few illegal aliens.”29




26
   Matt Schlapp (@mschlapp),, Twitter (June 27, 2019, 8:29 AM),
https://twitter.com/mschlapp/status/1144266564935528449.
27
   Pilar Pedraza (@PilarPedrazaTV), Twitter (July 8, 2019),
https://twitter.com/PilarPedrazaTV/status/1148296658943381508.
28
  Kris Kobach, Exclusive—Kobach: Bring the Citizenship Question Back to the Census,
Breitbart (Jan. 30, 2018), http://www.breitbart.com/big-
government/2018/01/30/exclusive-kobach-bring-citizenship-question-back-census/.
29
   Kris Kobach, Why the Citizenship Question is So Important, Breitbart (June 27, 2019),
https://www.breitbart.com/politics/2019/06/27/kobach-why-the-citizenship-question-is-
so-important/.

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         126.   Defendant Trump has also repeatedly denigrated and dehumanized non-

white immigrants. He has stated that certain immigrants “aren’t people, these are

animals,”30 and his administration has housed immigrant children in cages and separated

them from their families.31 Indeed, Defendant Trump has long complained about the

growth of immigrant communities of color, tweeting in 2015: “How crazy - 7.5% of all

births in U.S. are to illegal immigrants, over 300,000 babies per year. This must stop.”32

         127.   Secretary Ross has publicly supported the Trump Administration’s anti-

immigrant agenda, applauding Trump Administration programs to “swiftly return illegal

entrants” and to “stop sanctuary cities, asylum abuse, and chain immigration.”33

         128.   This slew of public statements and actions—from Defendant Trump and

some of his highest-level advisers and administration officials—shows clearly that the

true rationale for a adding a citizenship question is driven by racial animus against

immigrants of color and a desire to curb the political power of immigrant communities of

color.

         C. The Presidential Memorandum to Exclude Undocumented Immigrants
         from the Census


30
   Julie Hirschfeld Davis, Trump Calls Some Unauthorized Immigrants ‘Animals’ in
Rant, N.Y. Times, May 16, 2018,
https://www.nytimes.com/2018/05/16/us/politics/trump-undocumented-immigrants-
animals.html.
31
 BBC, Trump migrant separation policy: Children ‘in cages’ in Texas, June 18, 2018,
BBC News, https://www.bbc.com/news/world-us-canada-44518942.
32
   Donald Trump (@realDonaldTrump), Twitter (Aug. 21, 2015 6:56 AM),
https://twitter.com/realdonaldtrump/status/634725641972248576.
33
   Press Release, Commerce Dep’t, Statement From U.S. Secretary of Commerce Wilbur
Ross on the Release of President Trump’s Immigration Priorities (Oct. 9, 2017),
https://www.commerce.gov/news/press-releases/2017/10/statement-us-secretary-
commerce-wilbur-ross-release-president-trumps.

                                             42
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        129.   Where subterfuge has failed, Defendants have now turned to executive

fiat. Barred from including a citizenship question on the 2020 Census, Defendants have

now contrived a new scheme to identify and directly exclude undocumented immigrants

from the Actual Enumeration required for apportionment. On July 21, 2020, Defendant

Trump issued a presidential memorandum to the Secretary of Commerce entitled,

“Memorandum on Excluding Illegal Aliens From the Apportionment Base Following the

2020 Census.”34

        130.   The Memorandum wrongly asserts that “[t]he Constitution does not

specifically define which persons must be included in the apportionment base,” that

“persons in each state” has been interpreted to mean “inhabitants,” that the scope of the

term “inhabitants” requires “the exercise of judgment,” and that the President purportedly

has discretion to exercise that judgment to exclude entire categories of persons who

reside in the United States. Id.

        131.   On this asserted legal basis, the Memorandum declares that for

reapportionment following the 2020 Census, “it is the policy of the United States to

exclude from the apportionment base aliens who are not in a lawful immigration status

under the Immigration and Nationality Act, as amended (8 U.S.C. 1101 et seq.), to the

maximum extent feasible and consistent with the discretion delegated to the executive

branch.” Id. § 2.

        132.   The Memorandum states that the Secretary, in submitting his Census

report under 13 U.S.C. § 141(b), “shall take all appropriate action, consistent with the


34
  Available at https://www.whitehouse.gov/presidential-actions/memorandum-
excluding-illegal-aliens-apportionment-base-following-2020-census/.

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Constitution and other applicable law” to provide information to the President to allow

for the exclusion of undocumented immigrants. Id. § 3.

        133.   By its explicit and emphatic declaration of federal policy, the

Memorandum directs the Commerce Department (and through the Commerce

Department, the Census Bureau) to take steps to allow the President to exclude

undocumented immigrants in his apportionment report to Congress issued under 2 U.S.C.

§ 2(a). Id. This includes, but is not limited to, “provid[ing] information” in the report

that the Secretary must provide to the President under 13 U.S.C. § 141(b) that will

“permit[] the President” to exclude undocumented immigrants in calculating the number

of U.S. House seats to which each state is entitle. Id.

        134.   The Memorandum asserts that excluding undocumented immigrants is

justified because “the principles of representative democracy” are undermined by tying

the political influence of states to a population that includes undocumented immigrants.

Memorandum, § 2.

        135.    In an accompanying statement, Defendant Trump declared that the

Memorandum followed through on his commitment to determine the citizenship status of

the population, and argued that “the radical left is trying to erase the existence of [the

concept of American citizenship] and conceal the number of illegal aliens in our country”

as “part of a broader left-wing effort to erode the rights of Americans [sic] citizens.”35

The statement repeated the Memorandum’s argument that counting undocumented




35
  President Donald Trump, Statement from the President Regarding Apportionment (July
21, 2020), https://www.whitehouse.gov/briefings-statements/statement-president-
regarding-apportionment/.

                                              44
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immigrants creates “perverse incentives,” and that “we should not give political power to

people who should not be here at all.”36

           136.   Upon information and belief, following receipt of the Memorandum, the

Department of Commerce has issued directives to the Census Bureau, constituting final

agency action, to implement the policy of excluding noncitizens from the enumeration

used for congressional apportionment, as set forth in the Memorandum.

           137.   On June 23, 2020, Defendant Trump’s re-election campaign sent an email

making plain that the intent of the Memorandum is to undermine the Census and

demonize immigrants. The email characterized the Memorandum as an “Executive

Order” that “will block” undocumented people from “receiving congressional

representation” and from “being counted in the U.S. Census.”37 The email claimed that

this “Executive Order” was necessary because “Democrats are prioritizing dangerous,

unlawful immigrants over American Citizens.”38

           D. The Effect of Excluding Undocumented Immigrants from the Census




36
     Id.
37
   Hansi Lo Wang (@hansilowang), TWITTER (July 23, 2020, 3:34 PM),
https://twitter.com/hansilowang/status/1286384297314844672.
38
   Id. See also Tara Bahrampour, Trump’s reelection campaign calls for adding
citizenship question to 2020 census amid criticism that he is politicizing the count, Wash.
Post (Mar. 20, 2018), https://www.washingtonpost.com/local/social-issues/trump-
campaign-calls-for-adding-citizenship-question-to-2020-census-amid-accusations-that-
the-president-is-politicizing-the-annual-count/2018/03/20/dd5929fe-2c62-11e8-b0b0-
f706877db618_story.html (describing a “Trump reelection campaign” email that asked
supporters whether they “support[ed] the president in adding a citizenship question” to
the Census and noting that critics described the email as “demoralizing,” “an assault on
the constitution,” and “a sly attempt to rally the president’s base”).

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          138.   Pew Research Center has estimated that the total population of

undocumented immigrants in the United States was 10.5 million people in 2017.39 The

Department of Homeland Security (DHS) has estimated that the total population of

undocumented immigrants in the United States was 12 million in 2015.40

          139.   California, Texas, and New York are consistently three of the states with

the largest populations of undocumented residents.

          140.   According to Pew Research Center, California had 2 million

undocumented residents, Texas had 1.6 million undocumented residents, and New York

had 650,000 undocumented residents in 2017, subject to an upward or downward

variance of 50,000 people for each estimate.41

          141.   According to DHS, California had 2.9 million undocumented residents,

Texas had 1.9 million undocumented residents, and New York had 590,000

undocumented residents in 2015.42

          142.   The current average population of each U.S. House district is 710,767

people.




39
  Jeffrey S. Passel and D’Vera Cohn, Mexicans decline to less than half the U.S.
unauthorized immigrant population for the first time, Pew Research Ctr. (June 12,
2019), https://www.pewresearch.org/fact-tank/2019/06/12/us-unauthorized-immigrant-
population-2017/.
40
   Office of Immigration Statistics, U.S. Dep’t of Homeland Sec., Population Estimates:
Illegal Alien Population Residing in the United States: January 2015 at 2 (Dec.
2018), https://www.dhs.gov/sites/default/files/publications/18_1214_PLCY_pops-est-
report.pdf.
41
     Passel and Cohn, supra note 38.
42
     Office of Immigration Statistics, supra note 46.

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       143.    The Memorandum expressly aims to alter Congressional apportionment

based on states’ undocumented populations. For example, it argues that “[i]ncreasing

congressional representation based on the presence of aliens who are not in a lawful

immigration status would also create perverse incentives encouraging violations of

Federal law.” Memorandum§ 2.

       144.    Of these states, the Memorandum specifically targets California,

anticipating that excluding undocumented immigrants from the census would deprive

California of multiple House seats (an thus, Electoral College votes). The Memorandum

states: “Current estimates suggest that one State is home to more than 2.2 million illegal

aliens, constituting more than 6 percent of the State’s entire population. Including these

illegal aliens in the population of the State for the purpose of apportionment could result

in the allocation of two or three more congressional seats than would otherwise be

allocated.” Id. Upon information and belief, this “one State” is California.

       145.    Unlawfully excluding undocumented residents from the population count

used for apportionment will likely deprive several states—most particularly, Arizona,

California, New York, and Texas—of at least one House seat (or will cause not to gain at

least one House seat they would have gained) during the post-2020 Decennial Census

apportionment process.

       146.    Indeed, this Court found that Arizona, California, Florida, Illinois, New

York, and Texas all faced a substantial certainty of losing a seat based on a differential

undercount of 5.8% of all noncitizens in the 2020 census. New York, 351 F. Supp. 3d at

594, aff’d in relevant part, 139 S. Ct. 2551. The evidence upon which the Court based

these findings—the testimony of Dr. Chris Warshaw—relied on smaller undercounts of


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noncitizens in each of these states than would be caused by the Memorandum. See id.

(citing Warshaw Decl., Dkt. No. 526-1). A greater impact will occur for these states if

100% of undocumented immigrants are removed from the apportionment count. Other

studies have also confirmed the certainty that various states would lose a seat if

undocumented residents are removed.43

        147.   But the effects of the Memorandum are likely to run even deeper. Like

the failed effort to add a citizenship question to the census, the new policy of excluding

undocumented immigrants from the census will broadcast a xenophobic message to

immigrant communities about census participation, suppressing responses from

households containing immigrants and noncitizens. This will result in the omission from

the census not only of undocumented immigrants, but also noncitizen immigrants with

legal status and United States citizens. The resulting undercount will harm the work of

organizations—including that of the Plaintiffs here—in promoting census participation

and will further strip representation and economic resources from communities with

immigrant populations.

        E.     The Census Bureau’s Likely Use of Statistical Modeling to Estimate
               the Undocumented Population




43
   See Amelia Thomson-DeVeaux, The Citizenship Question Could Cost California And
Texas A Seat In Congress, FiveThirtyEight (June 17, 2019),
https://fivethirtyeight.com/features/the-citizenship-question-could-cost-california-and-
texas-a-seat-in-congress/ (finding California, Arizona, and Texas would lose at least one
seat in a poorly conducted census and 10% of households with undocumented immigrants
undercounted). While there are questions about the accuracy of its expert’s methodology,
the State of Alabama has asserted essentially the same thing in separate litigation. See
Expert Report of Dudley Poston at 28, Alabama v. U.S. Dep’t of Commerce, No. 2:18-cv-
00772-RD (N.D. Ala.) (opining that excluding undocumented residents from
apportionment base would cause California, Texas, and New Jersey to lose seats).

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        148.    The Census Bureau does not have a means to individually enumerate

undocumented immigrants separate and apart from the rest of the population in each

jurisdiction.

        149.    After completion of the citizenship question litigation, the Census Bureau

indicated that it would seek to compile citizenship status information for Census

respondents by using administrative records, including records from the Social Security

Administration. Such administrative records, however, do not provide information as to

legal status, as opposed to citizenship, and cannot be used to determine whether census

respondents are undocumented immigrants specifically.

        150.    In fact, the Government has recently represented in separate litigation, via

a declaration by Census Bureau Senior Advisor Enrique Lamas, that it “lack[s] . . .

accurate estimates of the resident undocumented population” on a state-by-state basis.44




44
   Defendants’ Supp. Rule 26(a)(1) Disclosures and Rule 26(a)(2)(C) Disclosures, State
of Alabama v. Dep’t of Commerce, Case No. 2:18-cv-00772-RDP (N.D. Ala. March 13,
2020). See also Jeffrey Mervis, Why the U.S. Census Bureau could have trouble
complying with Trump’s order to count citizens, Science Mag. (Sept. 16, 2019),
https://www.sciencemag.org/news/2019/09/why-us-census-bureau-could-have-trouble-
complying-trump-s-order-count-citizens (detailing the “formidable challenge” in relying
on administrative records); Comment from Campaign Legal Center, OMB Control
Number 0607-0995, https://campaignlegal.org/sites/default/files/2020-
01/Final%20Campaign%20Legal%20Center%20Comment%20OMB%20Control%20No
%200607-0995.pdf (noting that “[s]tate administrative data on individual citizenship
status are notoriously riddled with errors and outdated information” and “records
misidentify naturalized U.S. citizens as non-U.S. citizens”); Jennifer Van Hook, Counting
11 million undocumented immigrants is easier than Trump thinks, The Conversation
(July 17, 2019), https://theconversation.com/counting-11-million-undocumented-
immigrants-is-easier-than-trump-thinks-120459 (observing that administrative records
provide “inconsistent information about the same person,” have “limited value for
describing those who fall outside of the administrative records system,” and will require
researchers to “make assumptions about coverage error”).

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        151.   In the absence of means to actually enumerate the total population of the

United States minus undocumented immigrants, the Government has indicated its

intention to use statistical modeling to estimate the undocumented population and thereby

calculate an apportionment population that excludes undocumented immigrants. In

separate litigation, Department of Justice attorney Stephen Ehrlich recently stated in a

hearing that “there may need to be some statistical modeling” in order to carry out the

Memorandum, though the Government had not yet “formulated a methodology.”45

        152.   This statement is consistent with the previous efforts of governmental and

non-governmental actors that have endeavored to project the population of undocumented

immigrants in the United States. For example, Pew Research Center compiles statistical

estimates of the population of undocumented immigrants rather than an actual

enumeration, making a variety of statistical adjustments to the census population numbers

and weighting the data.46 DHS has similarly used statistical sampling methodology, the

residual method, for estimated the populations of undocumented immigrants. 47

        153.   The scope of any statistical model required to estimate the number of

undocumented immigrants would be unprecedented for use in calculating the




45
   Hansi Lo Wang (@hansilowang), Twitter (July 22, 2020, 10:58 AM),
https://twitter.com/hansilowang/status/1285952274410409985
46
  See, J. Passel, Measuring illegal immigration: How Pew Research Center counts
unauthorized immigrants in the US (July 12, 2019), https://www.pewresearch.org/fact-
tank/2019/07/12/how-pew-research-center-counts-unauthorized-immigrants-in-us/.
47
   Office of Immigration Statistics, U.S. Dep’t of Homeland Sec., Population Estimates:
Illegal Alien Population Residing in the United States: January 2015 at 2 (Dec.
2018), https://www.dhs.gov/sites/default/files/publications/18_1214_PLCY_pops-est-
report.pdf. DHS has not performed any estimates of the population of undocumented
immigrants for any year since 2015.

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apportionment population. Such statistical processes are not an “actual Enumeration” as

required under Article I of the Constitution. See Dep’t of Commerce v. U.S. House of

Representatives, 525 U.S. 316, 338 (1999); id. at 346 (Scalia, J., concurring) (“It is in my

view unquestionably doubtful whether the constitutional requirement of an ‘actual

Enumeration,’ Art. I, § 2, cl. 3, is satisfied by statistical sampling.”).

                                   CAUSES OF ACTION

                                        COUNT ONE
                      Violation of Enumeration and Apportionment
                     (Article I, Section 2, Clause 3 of the Constitution,
                       and Section 2 of the Fourteenth Amendment)
                           (All Plaintiffs against All Defendants)

        154.    Plaintiffs repeat and re-allege by reference all of the previous allegations

in this Complaint.

        155.    The Constitution requires that the apportionment of seats for the House of

Representatives be conducted on the basis of the total population of all persons in each

state, following each Decennial Census.

        156.    In particular, Article I, Section 2 of the Constitution requires that

“Representatives . . . shall be apportioned among the several States . . . according to their

respective Numbers, which shall be determined” based on the number of “persons” in

each state according to an “actual Enumeration,” “in such Manner as [Congress] shall by

Law direct.” U.S. Const. art. I, § 2, cl. 3.

        157.    Section 2 of the Fourteenth Amendment provides that “Representatives

shall be apportioned among the several States according to their respective numbers,

counting the whole number of persons in each State.” U.S. Const. amend. XIV, § 2

(emphasis added).


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       158.    “Whatever his status under the immigration laws, an alien is . . . a

‘person’” for purposes of the Fourteenth Amendment. Plyler, 457 U.S. at 210. A

“person” means a “human being,” Black’s Law Dictionary (11th ed. 2019), and no matter

what the Trump Administration may say, undocumented immigrants are human beings.

Undocumented immigrants living in the United States are among the “whole number of

persons in each State,” U.S. Const. amend. XIV, § 2, and thus the plain and unequivocal

text requires counting undocumented immigrants in the total population base used for

Congressional apportionment.

       159.    The Supreme Court has definitively held that non-citizens must be

included in the population base used to apportion U.S. House seats to each state. The

Court held just four years ago that “the Fourteenth Amendment calls for the

apportionment of congressional districts based on total population,” including non-

citizens. Evenwel, 136 S. Ct. at 1129; see also id. at 1128 (“The product of these debates

was § 2 of the Fourteenth Amendment, which retained total population as the

congressional apportionment base.”).

       160.    Other courts, including this Court, have recognized the same. See, e.g.,

New York, 351 F. Supp. 3d at 514 (“[T]he Constitution mandates that every ten years the

federal government endeavor to count every single person residing in the United States,

whether citizen or noncitizen, whether living here with legal status or without,” and

“[t]he. population count derived from that effort is used . . . to apportion Representatives

among the states”); Klutznick, 486 F. Supp. at 576 (“The language of the Constitution is

not ambiguous. It requires the counting of the ‘whole number of persons’ for




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apportionment purposes, and while illegal aliens were not a component of the population

at the time the Constitution was adopted, they are clearly ‘persons.’”).

       161.    The Memorandum brazenly ignores this precedent and the plain text of the

Constitution. It purports to unilaterally declare that undocumented immigrants are not

“persons” under the Fourteenth Amendment. Based on that shocking and baseless

assertion, the Memorandum declares it to be the explicit policy of the United States “to

exclude from the apportionment base aliens who are not in a lawful immigration status.”

The Memorandum further directs the Secretary to provide the President with information

in his Census report that excludes undocumented immigrants from the population count

of each state, so as to permit the President to exclude such persons in reporting to

Congress the number of each representatives to which each State is entitled, which the

President will then do.

       162.    By denying undocumented immigrants are “persons” and excluding them

from the total population count for congressional apportionment, the Memorandum

violates the plain and straightforward command of the Enumeration Clause and the

Fourteenth Amendment, as well as binding Supreme Court precedent.

       163.    The Memorandum further violates the Enumeration Clause and the

Fourteenth Amendment by apportioning U.S. House seats among the states based on data

other than the “numbers” reflecting the total population of each state as determined by the

“actual Enumeration” of the Decennial Census.

       164.    Defendants’ violations of the Enumeration Clause and the Fourteenth

Amendments will cause Plaintiffs and their members harm because it will cause New

York, California, and Texas, among other states, to each receive at least one fewer seat in


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the House of Representatives. Because these states will have at least one fewer

congressional district than they would otherwise, each congressional district in these

states will encompass more total people than it would otherwise, diluting the vote of

residents of these states, such as Plaintiffs’ members. The loss of a congressional seat

will also result in fewer votes for each state in the Electoral College, reducing the

political power of residents of these states. These injuries are directly traceable to the

exclusion of undocumented immigrants as a result of the Memorandum and its policy

       165.    Defendants’ violations of the Enumeration Clause and the Fourteenth

Amendments also causes harm to Plaintiffs and their members because, as explained,

some of their members are undocumented immigrants and live in communities where

undocumented immigrants constitute substantial portions of the population; and Plaintiffs

provide services to undocumented immigrants. The existence of an official policy to

exclude undocumented immigrants from apportionment totals will cause fewer

undocumented immigrants to respond to the Census, causing numerous injuries to the

communities in which undocumented immigrants live, including loss of political power

and funding.

       166.    There is a substantial likelihood that the requested relief will redress

these injuries. See Dep’t of Commerce, 139 S. at 2565–66; Utah v. Evans, 536 U.S. 452,

464 (2002); U.S. House of Representatives, 525 U.S. at 329–34.

                                      COUNT TWO
                                 Violation of Census Act
                            (2 U.S.C. § 2a(a); 13 U.S.C. § 141)
                                       (Ultra Vires)




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       167.    Plaintiffs repeat and re-allege the previous factual and jurisdictional

allegations in this complaint.

       168.    Congress has required that the Secretary of Commerce “shall, in the year

1980 and every 10 years thereafter, take a decennial census of population as of the first

day of April of such year, which date shall be known as the ‘decennial census date.’”

13 U.S.C. § 141(a). “The tabulation of total population by States under subsection (a) of

[§ 141] as required for the apportionment of Representatives in Congress among the

several States shall be completed within 9 months after the census date and reported by

the Secretary to the President of the United States.” Id. § 141(b) (emphasis added).

       169.    In turn, “the President shall transmit to the Congress a statement showing

the whole number of persons in each State, excluding Indians not taxed, as ascertained

under the seventeenth and each subsequent decennial census of the population, and the

number of Representatives to which each State would be entitled under an apportionment

of the then existing number of Representatives by the method known as the method of

equal proportions.” 2 U.S.C. § 2a(a).

       170.    As the Supreme Court and the Census Bureau have recognized, these

statutes require that persons whose “usual residence” is in the United States must be

counted in the enumeration and apportionment of U.S. House seats at that “usual

residence.” “[T]he first census conducted in 1790 required that persons be allocated to

their place of ‘usual residence,” and “‘usual residence’ has continued to hold broad

connotations” through present day. Franklin, 505 U.S. at 803, 805. The Census Bureau

has confirmed that its official policy today is that “[t]he state in which a person resides

and the specific location within that state is determined in accordance with the concept of


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‘usual residence,’ which is defined by the Census Bureau as the place where a person

lives and sleeps most of the time.” Residence Rule, 83 Fed. Reg. at 5526.

       171.    Under the Census Bureau’s Residence Rule, “[c]itizens of foreign

countries living in the United States” must be “[c]ounted at the U.S. residence where they

live and sleep most of the time.” 83 Fed. Reg. at 5533.

       172.    The President’s Memorandum violates 13 U.S.C. § 141(a)–(b) by

requiring the Secretary of Commerce to tabulate and transmit reports to the President

estimates of the total population in each State that are based on data other than the actual

Enumeration of each state as determined by the decennial census, and that do not count

all persons who live in the state as their “usual residence.” Specifically, the President’s

Memorandum violates 13 U.S.C. § 141(a)–(b) by requiring the Secretary to rely on

administrative data other than the actual Enumeration of each state as determined by the

decennial census, and to exclude undocumented immigrants who reside in a state as their

usual residence, in tabulating the total population of each state and transmitting those

total population numbers to the President.

       173.    The President’s Memorandum also violates 2 U.S.C. § 2a(a) and 13

U.S.C. § 141(a)–(b) by requiring the President to calculate and transmit to Congress total

population figures for each state, and the apportionment of U.S. House seats among the

states, based on data other than “decennial census of the population,” and by using a

method other than the “method of equal proportions” prescribed by Congress. 2 U.S.C. §

2a(a). The President may use only the actual enumeration of the total population of each

State as “ascertained under the . . . decennial census”—and nothing else—to calculate the

whole number of persons in each State and the number of Representatives for each state.


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2 U.S.C. § 2a(a). Likewise, the “method of equal proportions” is a “rigid” formula

“provided by Congress itself” that requires use of the total population of each State as

determined based on the decennial census and no other administrative data. Franklin,

505 U.S. at 2775.

       174.    The President’s Memorandum also violates 2 U.S.C. § 2a(a) and 13

U.S.C. § 141(a)–(b) by causing the President to transmit to Congress total population

figures for each state that do not include all persons who live in each state as their “usual

residence,” and/or by causing the President to transmit to Congress a number of

Representatives for each state that is calculated by excluding persons who live in each

state as their “usual residence.” If the Secretary of Commerce transmits one set of total

population numbers to the President that do include undocumented immigrants who live

in the United States as their usual residence (as the Secretary must do), then the President

is required to use that set of total population numbers in transmitting to Congress “the

whole number of persons in each State,” and “the number of Representatives to which

each State would be entitled under an apportionment of the then existing number of

Representatives by the method known as the method of equal proportions.” 2 U.S.C. §

2a(a). The number of whole of persons in each state that the President must transmit to

Congress must be that “ascertained under the . . . decennial census of the population,” id.,

which includes all persons living in the United States as their usual residence, 13 U.S.C.

§ 141(a)–(b). And it is “required for the apportionment of Representatives in Congress

among the several States” that the President and the Secretary use the total population

numbers tabulated for each state that include all persons who live in each state as their

usual residence. 13 U.S.C. § 141(b).


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        175.    Because Defendant Trump and Secretary Ross will act beyond the scope

of their statutory authority in a way that causes constitutional violations, they are acting

ultra vires pursuant to 2 U.S.C. § 2a(a) and 13 U.S.C. § 141. See, e.g., Mountain States

Legal Foundation v. Bush, 306 F. 3d. 1132, 1136 (D.C. Cir. 2002) (“[T]he Supreme

Court has indicated generally that review is available to ensure that Proclamations are

consistent with constitutional principles and the President has not exceeded his statutory

authority.”); Chamber of Commerce of United States v. Reich, 74 F.3d 1322, 1328 (D.C.

Cir. 1996) (“When an executive acts ultra vires, courts are normally available to

reestablish the limits on his authority. . . . That the executive's action here is essentially

that of the President does not insulate the entire executive branch from judicial review.”).

        176.    The Memorandum also will result in the President and Secretary Ross

failing to perform their clear legal duties to, among other things: tabulate the total

populations of the States based on data from the decennial census that includes all

persons who live in the United States as their usual residence; calculate the whole number

of persons in each state and the number of U.S. House seats to which each seat is entitled

based on data from the decennial census that includes all persons who live in the United

States as their usual residence; and transmit to Congress the whole number of persons in

each state and the number of U.S. House seats to which each seat is entitled based on data

from the decennial census that includes all persons who live in the United States as their

usual residence.

        177.    Defendants’ violations of 2 U.S.C. § 2a(a) and 13 U.S.C. § 141 will cause

Plaintiffs and their members harm because it will cause New York, California, and Texas,

among other states, to receive at least one fewer seat in the House of Representatives.


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Because these states will have at least one less congressional district than they would

otherwise, each congressional district in these states will encompass more total people

than they would otherwise, diluting the vote of residents of these states, such as

Plaintiffs’ members. The loss of a congressional seat will also result in fewer votes for

each state in the Electoral College, reducing the political power of residents of these

states. These injuries are directly traceable to the exclusion of undocumented immigrants

as a result of the Memorandum and its policy.

       178.     Defendants’ violations of 2 U.S.C. § 2a(a) and 13 U.S.C. § 141 also

causes harm to Plaintiffs and their members because, as explained, some of their

members are undocumented immigrants and live in communities where undocumented

immigrants constitute portions of the population; and Plaintiffs provide services to

undocumented immigrants. The existence of an official policy to exclude undocumented

immigrants from apportionment totals will cause fewer undocumented immigrants to

respond to the Census, causing numerous injuries to the communities in which

undocumented immigrants live, including loss of political power and funding.

       179.     There is a substantial likelihood that the requested relief will redress

these injuries. See Dep’t of Commerce, 139 S. Ct. at 2565-66; Utah, 536 U.S. at

464; U.S. House of Representatives, 525 U.S. at 329-34.

                                     COUNT THREE
                Discrimination on the Basis of Race and National Origin
              (Fifth and Fourteenth Amendments of the U.S. Constitution)
                          (All Plaintiffs against All Defendants)

       180.     Plaintiffs repeat and re-allege the previous factual and jurisdictional

allegations in this complaint.



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        181.    The Due Process Clause of the Fifth Amendment to the U.S. Constitution

requires that the federal government not deny people the equal protection of its laws and

prohibits the federal government from discriminating against individuals in the United

States on the basis of race, ethnicity, national origin, and citizenship. U.S. Const. amend

V.

        182.    The Supreme Court has affirmed the clear text of the Fifth Amendment by

recognizing its constitutional protections apply to “person[s]” within the jurisdiction of

the United States, and not only to citizens. See, e.g., Wong Wing v. United States, 163

U.S. 228 (1896) (Field, J., concurring) (“[t]he term ‘person,’ used in the [F]ifth

[A]mendment, is broad enough to include any and every human being within the

jurisdiction of the republic”); see also Reno v. Flores, 507 U.S. 292, 306 (1993).

        183.    The Fifth Amendment’s Due Process Clause “applies to all persons within

the United States, including aliens, whether their presence is lawful, unlawful, temporary,

or permanent.” Zadvydas v. Davis, 533 U.S. 678, 693 (2001).

        184.     The “bedrock protections of the Fifth Amendment’s Due Process Clause”

are not eliminated by the “mere act of entry into the United States without

documentation.” Garza v. Hargan, 874 F.3d 735, 737–38 (D.C. Cir. 2017) (Millett, J.,

concurring).

        185.    The Fifth Amendment’s prohibition on discrimination on the basis of

race, ethnicity, national origin, and citizenship is co-extensive with the Equal Protection

guarantees of the Fourteenth Amendment, which the Supreme Court has long recognized

extends to undocumented immigrants. “The Fourteenth Amendment to the Constitution

is not confined to the protection of citizens . . . . [and is] universal in [its] application, to


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all persons within the territorial jurisdiction, without regard to any differences of race, of

color, or of nationality.” Yick Wo v. Hopkins, 118 U.S. 356, 369 (1886). In more recent

years, the Supreme Court has reaffirmed that “aliens whose presence in this country is

unlawful . . . have long been recognized as ‘persons’ guaranteed due process of law by

the Fifth and Fourteenth Amendments.” Plyler, 457 U.S. at 210.

       186.    The Memorandum violates the Fifth Amendment’s prohibition on

discrimination in at least two distinct respects. First, it facially targets undocumented

immigrants for exclusion from the decennial enumeration, outright denying them the

status of “persons” under the Constitution. Government action denying the personhood

of people living in the United States echoes the darkest chapters of American

constitutional history. See Dred Scott v. Sandford, 60 U.S. 393 (1857).

       187.    Second, as with the failed scheme to include a citizenship question on the

census, this latest discriminatory act is motivated by a bare desire to harm immigrant

communities of color, and particularly Latinx communities, by reducing their political

clout and access to federal resources.

       188.    Defendant Trump and nativist members of his Administration view non-

white, undocumented immigrants as a political and cultural threat. The President, as

noted supra, has directed particularly virulent animus at Latinx immigrants. Defendant

Trump and members of his Administration have long warned about the consequences of

rising Latinx political power in the United States and the ostensible harms of

undocumented immigrants to the United States.




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       189.    The Memorandum not only would codify the animus and discriminatory

goals of Defendants, but it would result in a cascade of discriminatory effects, including,

but not limited to:

       a. The loss of congressional seats and Electoral College votes in states where

these groups constitute significant portions of the population and where Plaintiffs have

members, including a certainly impending loss for California; a substantial risk of a loss

for New York, Texas, Florida, Arizona, and Illinois; and a considerable risk of a loss for

New Jersey and Georgia; and

       b. A substantial reduction in the amount of federal funds distributed to the local

and state governments in which the Plaintiffs reside, which all have significant, non-

white populations; and

       c. A reduction of the political influence to which these communities would

receive through an accurate census count.

       190.    In addition to the discriminatory effects evidence well-known and acted

upon by Defendants and the direct intent evidence outlined, the haphazard process

through which the Defendants promulgated this Memorandum provides strong

circumstantial evidence of discriminatory intent. This evidence includes the timing of the

release of the Memorandum, which coincides with dispatching of Census field operations

to conduct outreach to groups the Defendant Trump has discouraged from participating

with dark and racist presidential campaign statements; the bizarre procedural sequence

and series of events leading up to the Memorandum; the President’s repeated efforts to

generate confusion surrounding and distrust of the Census process; the shallow

justifications cited by the President for the memorandum; the historical background and


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substantive departures from prior precedents; contemporary statements of the President

and other decisionmakers; and the profound unworkability of the Memorandum.

       191.    Defendants’ violations of the Fifth Amendment will cause Plaintiffs and

their members harm because it will cause New York, California, and Texas, among other

states, to receive at least one fewer seat in the House of Representatives. Because these

states will have at least one less congressional district than they would otherwise, each

congressional district in these states will encompass more total people than they would

otherwise, diluting the vote of residents of these states, such as Plaintiffs’ members. The

loss of a congressional seat will also result in fewer votes for each state in the Electoral

College, reducing the political power of residents of these states. These injuries are

directly traceable to the exclusion of undocumented immigrants as a result of the

Memorandum and its policy

       192.    Defendants’ violations of the Fifth Amendment also cause harm to

Plaintiffs and their members because, as explained, some of their members are

undocumented immigrants and live in communities where undocumented immigrants

constitute portions of the population; and Plaintiffs provide services to undocumented

immigrants. The existence of an official policy to exclude undocumented immigrants

from apportionment totals will cause fewer undocumented immigrants to respond to the

Census, causing numerous injuries to the communities in which undocumented

immigrants live, including loss of political power and funding.

       193.    There is a substantial likelihood that the requested relief will redress

these injuries. See Dep’t of Commerce, 139 S. Ct. at 2565-66; Utah, 536 U.S. at

464; U.S. House of Representatives, 525 U.S. at 329-34.


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                                      COUNT FOUR
                                   Separation of Powers
                    (Article I, Section 2, Clause 3 of the Constitution,
                      as amended by the Fourteenth Amendment)
                        (All Plaintiffs against Defendant Trump)

        194.    Plaintiffs repeat and re-allege the previous factual and jurisdictional

allegations in this complaint.

        195.    Article I of the U.S. Constitution, in conjunction with the Fourteenth

Amendment, requires that the federal government conduct an “actual Enumeration” of

the national population every ten years to determine the “whole number of persons” in

the United States and within each state for the purpose of apportioning members of the

House of Representatives to the respective states according to their population. U.S.

Const. art I, § 2, cl. 3; id. amend. XIV, § 2.

        196.    The Constitution, through the Enumeration Clause, “vests Congress with

virtually unlimited discretion in conducting the decennial ‘actual Enumeration.’” Dep’t

of Commerce, 139 S. Ct. at 2566 (quoting Wisconsin v. City of New York, 517 U.S. 1, 19

(1996)).

        197.    As the Supreme Court has noted repeatedly, through the Census Act,

Congress “delegated to the Secretary of Commerce the tasks of conducting the decennial

census ‘in such form and content as he may determine,’”—not the President. Id. at 2567

(quoting 13 U.S.C. § 141(a)).

        198.    The text of the Census Act itself makes clear that Congress has delegated

authority over the census to the Commerce Secretary, not the President.

        199.    Section 141(a) of the Census Act requires that “[t]he Secretary shall, in

the year 1980 and every 10 years thereafter, take a decennial census of population as of


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the first day of April of such year, which date shall be known as the ‘decennial census

date’, in such form and content as he may determine”—not the President. 13 U.S.C. §

141(a) (emphasis added).

       200.    Section 4 of the Census Act requires the Secretary, not the President, to

“perform the functions and duties imposed upon him by this title.” 13 U.S.C. § 4.

       201.    The Census Act plainly distinguishes between the Secretary and the

President in their roles regarding the Census, as intended by Congress. See, e.g., 13

U.S.C. § 141(b) (“The tabulation of total population by States under subsection (a) of this

section as required for the apportionment of Representatives in Congress among the

several States shall be completed within 9 months after the census date and reported by

the Secretary to the President of the United States.”) (emphasis added); 13 U.S.C. § 21

(distinguishing between “the President” and “the Secretary”).

       202.    The Constitution and Census Act thus make clear that the President has

usurped powers Congress has delegated to the Secretary. See Youngstown Sheet & Tube

Co. v. Sawyer, 343 U.S. 579, 637 (1952) (Jackson, J., concurring) (“When the President

takes measures incompatible with the expressed or implied will of Congress, his power is

at its lowest ebb, for then he can rely only upon his own constitutional powers minus any

constitutional powers of Congress over the matter.”); see also Medellin v. Texas, 552

U.S. 491, 524 (2008) (“Justice Jackson's familiar tripartite scheme provides the accepted

framework for evaluating executive action in this area.”).

       203.    The Constitution and Census Act are unambiguous: Congress has

constitutional authority over the census, and it has delegated none of that authority to the

President. The Memorandum therefore violates the Constitution’s separation of powers.


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       204.    Defendants’ constitutional violation causes ongoing harm to Plaintiffs and

their members because as explained their members are undocumented immigrants and

live in communities where undocumented immigrants constitute significant portions of

the populations; and provide services to undocumented immigrants, and as such, these

violations will deprive them of the political influence and funding to which they would be

entitled by a more accurate census.

       205.    The Supreme Court has stated, “An individual has a direct interest in

objecting to laws that upset the constitutional balance between the National Government

and the States when the enforcement of those laws causes injury that is concrete,

particular, and redressable. Fidelity to principles of federalism is not for the States alone

to vindicate.” Bond v. United States, 564 U.S. 211, 222 (2011).

       206.    Defendants’ violations of the constitutional separation of powers will

cause Plaintiffs and their members harm because it will cause New York, California, and

Texas, among other states, to receive at least one fewer seat in the House of

Representatives. Because these states will have at least one less congressional district

than they would other, each congressional district in these states will encompass more

total people than they would otherwise, diluting the vote of residents of these states, such

as Plaintiffs’ members. The loss of a congressional seat will also result in fewer votes for

each state in the Electoral College, reducing the political power of residents of these

states. These injuries are directly traceable to the exclusion of undocumented immigrants

as a result of the Memorandum and its policy

       207.    Defendants’ violations of the constitutional separation of powers also

causes harm to Plaintiffs and their members because, as explained, some of their


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members are undocumented immigrants and live in communities where undocumented

immigrants constitute significant portions of the population; and Plaintiffs provide

services to undocumented immigrants. The existence of an official policy to exclude

undocumented immigrants from apportionment totals will cause fewer undocumented

immigrants to respond to the Census, causing numerous injuries to the communities in

which undocumented immigrants live, including loss of political power and funding.

       208.    There is a substantial likelihood that the requested relief will redress

these injuries. See Dep’t of Commerce, 139 S. Ct. at 2565-66; Utah, 536 U.S. at

464; U.S. House of Representatives, 525 U.S. at 329-34.

                                    COUNT FIVE
                             Administrative Procedure Act
 (All Plaintiffs against Defendants Ross, Dillingham, Department of Commerce and
                                   Census Bureau)
       209. Plaintiffs repeat and re-allege by reference all of the previous factual

allegations in this Complaint.

       210.    The Administrative Procedure Act (APA), 5 U.S.C. §§ 702, 704, provides

for a cause of action against any final agency action, within the meaning of the APA.

       211.    Upon information and belief, the Department of Commerce has directed

the Census Bureau to effectuate the Memorandum’s policy of excluding noncitizens from

the enumeration used to apportion congressional representation and has instructed the

Census Bureau to that effect. This constitutes a final agency action within the meaning of

the APA because it marks the consummation of the agency’s decision-making process,

and it is one by which rights or obligations have been determined, or from which legal

consequences will flow, Bennett v. Spear, 520 U.S. 154, 177–78 (1997).




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       212.      In addition, the Secretary’s tabulation of total population numbers for each

state that exclude undocumented immigrants and his transmission of those numbers to the

President is required under the Memorandum, and thus the fact that the Secretary will

take these actions is indisputable and inevitable. The Secretary’s tabulation of total

population numbers for each state that exclude undocumented immigrants and his

transmission of those numbers to the President are separate final agency actions within

the meaning of the APA. Requiring Plaintiffs to challenge those mandated final actions

after they occur could enable Defendants to evade judicial review.

       213.      The APA, 5 U.S.C. § 706(2), provides that a court shall hold unlawful and

set aside agency action found to be arbitrary, capricious, an abuse of discretion, or

otherwise not in accordance with law.

       214.      The Department of Commerce directive to the Census Bureau to effectuate

the policy of excluding undocumented immigrants from the Census as set forth in the

Memorandum also violates the APA because it is contrary to statutory and constitutional

law. Dep’t of Commerce, 139 S. Ct. 2551 at 2569; State Farm Mut. Auto. Ins. Co., 463

U.S. at 42-43.

       215.      The Census Act requires that this decennial census result in a “tabulation

of total population by States . . . as required for the apportionment of Representatives in

Congress among the several States” to be reported to the President. 13 U.S.C. §

141(b). This statute has identical meaning as the Constitution, whose mandate it

implements: undocumented immigrants are included in the “total population” of each

state, and thus must be included in the Census. The statute governing reapportionment, 2

U.S.C. § 2a, provides that after within one week of the first day of the first regular


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session of each Congress following the Census – that is, after receiving the Secretary of

Commerce’s report pursuant to 13 U.S.C. § 141(b) – the President shall transmit to

Congress the population of each state and the number of seats to which it is entitled in the

House of Representatives. Like the Census Act, this statute implements the

Constitution’s requirement that apportionment be based on the total population of each

state by mandating that the President’s statement to Congress show “the whole number of

persons in each State . . . .” 2 U.S.C. § 2a(a). Undocumented immigrants are included

within the “whole number of persons in each State” as used in 2 U.S.C. § 2a(a).

       216.    The Department of Commerce directive to the Census Bureau to effectuate

the policy of excluding undocumented immigrants from the Census as set forth in the

Memorandum is also arbitrary and capricious in violation of the APA because: it relied

on factors which Congress has not intended it to consider; entirely failed to consider an

important aspect of the problem; and offered an explanation for its decision that runs

counter to the evidence before the agency. Dep’t of Commerce, 139 S. Ct. 2551 at

2569; State Farm Mut. Auto. Ins. Co., 463 U.S. at 42-43.

       217.    The Department of Commerce directive to the Census Bureau to effectuate

the policy of excluding undocumented immigrants from the Census as set forth in the

Memorandum is also arbitrary and capricious in violation of the APA because it changed

long-standing, consistent Census Bureau policy without a “reasoned analysis of the

change.” State Farm Mut. Auto. Ins. Co., 463 U.S. at 42-43; FCC v. Fox Television

Stations, Inc., 556 U.S. 502 (2009).

       218.    The Department of Commerce directive to the Census Bureau to effectuate

the policy of excluding undocumented immigrants from the Census as set forth in the


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Memorandum is also arbitrary and capricious in violation of the APA because it is the

subject of improper political influence and pressure from political actors. D.C. Fed’n of

Civic Assoc. v. Volpe, 459 F.2d 1231, 1246 (D.C. Cir. 1971); Tummino v. Torti, 603 F.

Supp. 2d 519 (E.D.N.Y. 2009).

       219.    The Memorandum further violates the APA by effectively abrogating the

Residence Rule without going through notice-and-comment rulemaking. The Census

Bureau issued the Residence Rule pursuant to notice-and-comment rulemaking. The

Census Bureau provided in the Residence Rule that foreign citizens must be “[c]ounted at

the U.S. residence where they live and sleep most of the time,” 83 Fed. Reg. at 5533, and

the Census Bureau confirmed that “[a]pportionment is based on the resident population”

as calculated pursuant to the Residence Rule. 83 Fed. Reg. at 5526 n.1. The APA’s

notice-and-comment requirements prohibit the Census Bureau from calculating the total

population of each state in a manner different from that set forth in the Residence Rule

without revising or replacing the Residence Rule pursuant to notice-and-comment

rulemaking. Neither the President nor the Secretary of Commerce may order the Census

Bureau to violate a rule issued pursuant to notice-and-comment rulemaking. “An agency

may not . . . depart from a prior policy sub silentio or simply disregard rules that are still

on the books.” Fox Television Stations, Inc., 556 U.S. 502.

       220.    Defendants’ violations of the APA will cause Plaintiffs and their members

harm because it will cause New York, California, and Texas, among other states, to

receive at least one fewer seat in the House of Representatives. Because these states will

have at least one less congressional district than they would otherwise, each

congressional district in these states will encompass more total people than they would


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otherwise, diluting the vote of residents of these states, such as Plaintiffs’ members. The

loss of a congressional seat will also result in fewer votes for each state in the Electoral

College, reducing the political power of residents of these states. These injuries are

directly traceable to the exclusion of undocumented immigrants as a result of the

Memorandum and its policy.

       221.    Defendants’ violations of the APA also cause harm to Plaintiffs and their

members because, as explained, some of their members are undocumented immigrants

and live in communities where undocumented immigrants constitute significant portions

of the population; and Plaintiffs provide services to undocumented immigrants. The

existence of an official policy to exclude undocumented immigrants from apportionment

totals will cause fewer undocumented immigrants to respond to the Census, causing

numerous injuries to the communities in which undocumented immigrants live, including

loss of political power and funding.

       222.    There is a substantial likelihood that the requested relief will redress

these injuries. See Dep’t of Commerce, 139 S. Ct. at 2565-66; Utah, 536 U.S. at

464; U.S. House of Representatives, 525 U.S. at 329-34.

                                REQUEST FOR RELIEF

       WHEREFORE, Plaintiffs respectfully request that this Court:

       i. Declare that Defendants’ exclusion of undocumented immigrants from (a) the

tabulation of the total population of the states; (b) the calculation and statement of the

whole number of persons in each state; and (c) the calculation and statement of the

apportionment of the House of Representatives among the states, is unauthorized by and

violates the Constitution and laws of the United States;

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       ii. Declare that Defendants’ exclusion of undocumented immigrants is ultra vires

and violates 2 U.S.C. § 2a(a) and 13 U.S.C. § 141(a)-(b);

       iii. Preliminarily and permanently enjoin Defendants and all those acting on their

behalf from excluding undocumented immigrants from: (a) the tabulation of total

population by states; (b) the calculation and statement of the whole number of persons in

each state; and (c) the calculation and statement of the apportionment of the House of

Representatives among the states;

       iv. Estop Defendants from excluding undocumented immigrants from: (a) the

tabulation of total population by states; (b) the calculation and statement of the whole

number of persons in each state; and (c) the calculation and statement of the

apportionment of the House of Representatives among the states;

       v. Issue a writ of mandamus compelling the Secretary of Commerce to tabulate

and report the total population of each state under 13 U.S.C § 141(b) based only on the

actual enumeration of the total population as determined by the decennial census,

including undocumented immigrants who live in the United States as their usual

residence;

       vi. Issue a writ of mandamus compelling the President to calculate the whole

number of persons in each state and the apportionment of the House of Representatives

among the states based only on the actual enumeration of the total population as

determined by the decennial census, including undocumented immigrants who live in the

United States as their usual residence;




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       vii. Issue a writ of mandamus compelling the President to calculate the

apportionment of the House of Representatives among the states based on the method of

equal proportions prescribed by Congress;

       viii.   Award Plaintiffs their reasonable fees, costs, and expenses, including

attorneys’ fees, pursuant to 28 U.S.C. § 2412; and

       ix. Award any other such additional relief as the Court deems proper.




Dated: July 24, 2020



Respectfully submitted,

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